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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JANE STONE #1,
 JANE STONE #2,
 JANE STONE #3,
 JANE STONE #4,
 JANE STONE #5,                               20-civ-1326 (RA)(OTW)
 JANE STONE #6,

                              Plaintiffs,

                - against -
                                              SECOND AMENDED
 ANTHONY J. ANNUCCI, Acting                   COMPLAINT
 Commissioner of the New York State
 Department of Corrections and Community
 Supervision;
 JASON EFFMAN, Associate Commissioner
 and PREA Coordinator of the New York
 State Department of Corrections and
 Community Supervision;
 SUSAN SQUIRES, Superintendent of Albion
 Correctional Facility;
 SABINA KAPLAN, Superintendent of             Jury Trial Demanded
 Bedford Hills Correctional Facility;
 BRIAN KUBIK, Superintendent of Lakeview
 Shock Incarceration Correctional Facility;
 TANYA MITCHELL-VOYD, Superintendent
 of Taconic Correctional Facility;
 JAMES W. CASTONGUAY, Correction
 Officer at Albion Correctional Facility;
 JORDAN MIDDLEBROOKS, Correction
 Officer at Albion Correctional Facility;
 WILLIE SMITH, Correction Officer at
 Albion Correctional Facility;
 DAVID STUPNICK, Correction Officer at
 Albion Correctional Facility;
 NARESH DEOSARRAN, Correction Officer
 at Bedford Hills Correctional Facility;
 JOSE GUZMAN, Correction Officer at
 Bedford Hills Correctional Facility;



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  TIFFANY PAIGE, Correction Officer at
  Bedford Hills Correctional Facility;
  RASHEEN SMALLS, Correction Officer at
  Bedford Hills Correctional Facility;
  MATTHEW ANTOLINI, Correction Officer
  at Lakeview Shock Incarceration
  Correctional Facility;
  JAMES BEAM, Correction Officer at
  Lakeview Shock Incarceration Correctional
  Facility;
  JUAN VASQUEZ, Correction Officer at
  Lakeview Shock Incarceration Correctional
  Facility;
  NANCY LOPEZ, Correction Officer at
  Taconic Correctional Facility;
  KEFFION LOVELACE, Correction Officer
  at Taconic Correctional Facility;
  PEDRO NORDE, Correction Officer at
  Taconic Correctional Facility;
  MELINDA HANZLIAN, Investigator at New
  York State Department of Corrections and
  Community Supervision; and
  ALVI CASTRO, Investigator at New York
  State Department of Corrections and
  Community Supervision;

                           Defendants.



Plaintiffs JANE STONE #1, JANE STONE #2, JANE STONE #3, JANE STONE #4,

JANE STONE #5, and JANE STONE #6 by and through their attorneys, the Law

Office of Zachary Margulis-Ohnuma and the Law Offices of Daniel A. McGuinness,

P.C., as and for their Complaint, hereby allege as follows:


                           PRELIMINARY STATEMENT
      1.     This is a civil rights action brought under 42 U.S.C. § 1983 against

officials of New York State Department of Corrections and Community Supervision

(“DOCCS”) who violated the rights of six female inmates by sexually abusing them
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and acting with deliberate indifference to allow that abuse. DOCCS officials and staff

knew of the imminent threat of sexual assault to JANE STONE #1, JANE STONE

#2, JANE STONE #3, JANE STONE #4, JANE STONE #5, and JANE STONE #6,

and deliberately failed to protect them.

       2.      From 2015 to 2019, DOCCS housed approximately 2,500 female inmates,

around five percent of the total inmate population, in six facilities throughout the

state. These women were guarded by male officers, who routinely engaged in illegal

sexual activity with individual victim inmates over long periods of time. Under the

New York Penal Law, an inmate can never consent to sexual activity with an officer.

See N.Y. Penal Law § 130.05. Nonetheless, DOCCS supervisors cultivated a culture

that allowed male staff to prey on female inmates to satisfy their sexual desires. Male

staff were barely supervised and left alone with women under their control for long

periods of time in unmonitored areas of the prisons. They had a system of warning

each other if a supervisor was approaching and created a climate of fear and

intimidation against any woman who complained about sexual attention from an

officer.

       3.      Rather than investigate officers’ sexual abuse of female inmates in good

faith, DOCCS investigators blamed the victims and coerced them into making

statements, threatening punishment against those who chose to remain silent and

discrediting many of those who spoke up. As rapes and sexual assaults of female

inmates continued with alarming frequency, the defendants covered up the assaults




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by giving lip service to official policies and disciplining individual staff members only

when their sexual abuse of inmates became too egregious and notorious to ignore.

      4.     The multiple rapes and sexual assaults of these six Plaintiffs and others

described in this Complaint could have been prevented. DOCCS officials, including

both administrators and guards, knew of the danger facing female inmates. They

knew that multiple confirmed rapes had occurred in their facilities. They knew

individual inmates were complaining of rapes that were “unsubstantiated” because

the victims were routinely and unfairly discredited based solely on their status as

inmates. They knew that guards were grooming inmates for sexual contact and

coercive “romantic” relationships over long periods of time. In some cases, they knew

of and tolerated blatantly inappropriate relationships between officers and inmates.

They knew substantiated incidents of sexual abuse were ten times higher in DOCCS’s

female facilities than male facilities. They knew the policies that needed to be

corrected and how to fix their broken culture.

      5.     The supervisory defendants named in this Complaint nonetheless chose

not to act, allowing these rapes and sexual assaults to occur and continue.

      6.     JANE STONE #1, JANE STONE #2, JANE STONE #3, JANE STONE

#4, JANE STONE #5, and JANE STONE #6 now bring suit under the Eighth

Amendment to the United States Constitution, 42 U.S.C. § 1983, and New York

common law to recover damages for the harm caused by their sexual abuse at the

hands of New York prison officials.




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                           JURISDICTION AND VENUE
      7.     Subject matter jurisdiction over the federal constitutional and statutory

claims is proper in this Court pursuant to 28 U.S.C. § 1331. This court has jurisdiction

to order nominal, compensatory and punitive damages, attorneys’ fees, and injunctive

and declaratory relief pursuant to 28 U.S.C. § 2201 and 42 U.S.C. §§ 1983 and 1988.

      8.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because

some of the events giving rise to the claim occurred inside the Southern District of

New York.

      9.     DOCCS operates three all-female facilities, which are the location of the

incidents described herein: Albion Correction Facility in Albion, New York (“Albion

CF”); Bedford Hills Correctional Facility in Bedford Hills, New York (“BHCF”); and

Taconic Correctional Facility in Bedford Hills, New York (“Taconic”).

      10.    The other location of events is a mixed male and female facility,

Lakeview Shock Incarceration Correctional Facility in Brocton, New York

(“Lakeview”).

      11.    Albion CF is in the Western District of New York.

      12.    BHCF is in the Southern District of New York.

      13.    Lakeview is in the Western District of New York.

      14.    Taconic is in the Southern District of New York.




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                                    PARTIES

I.    PLAINTIFFS

      15.   Plaintiffs JANE STONE #1, JANE STONE #2, JANE STONE #3, JANE

STONE #4, JANE STONE #5, and JANE STONE #6 were, at all relevant times,

female inmates under the direct control and supervision of DOCCS officials.

      16.   Plaintiff JANE STONE #1 is presently in DOCCS custody, housed at

Taconic in Bedford Hills, New York. During the relevant time periods, JANE STONE

#1 was housed at Albion CF and Taconic.

      17.   Plaintiff JANE STONE #2 is presently incarcerated at Taconic. During

the relevant time periods, JANE STONE #2 was housed at Albion CF.

      18.   Plaintiff JANE STONE #3 is no longer in custody and now resides in

Binghamton, New York. During the relevant time periods, JANE STONE #3 was

housed at Taconic.

      19.   Plaintiff JANE STONE #4 is no longer in custody and now resides in

Massapequa, New York. During the relevant time periods, JANE STONE #4 was

housed at Lakeview and Taconic.

      20.   Plaintiff JANE STONE #5 is no longer in custody and now resides in

Constantia, New York. During the relevant time periods, JANE STONE #5 was

housed at BHCF, Albion CF, and Taconic.

      21.   Plaintiff JANE STONE #6 is no longer in custody and now resides in

Rochester, New York. During the relevant time periods, JANE STONE #6 was housed

at Albion CF.

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II.   DEFENDANTS

      22.    Defendant ANTHONY J. ANNUCCI (“COMMR ANNUCCI”) was at all

relevant times the Acting Commissioner of DOCCS. COMMR ANNUCCI is sued

herein in his individual capacity.

      23.    Defendant JASON EFFMAN (“COMMR EFFMAN”) was at all relevant

times Associate Commissioner of and Prison Rape Elimination Act Coordinator for

DOCCS. COMMR EFFMAN is sued herein in his individual capacity.

      24.    Defendant SUSAN SQUIRES (“SUPT SQUIRES”) was at all relevant

times the Superintendent of Albion CF. SUPT SQUIRES is sued in her individual

capacity.

      25.    Defendant SABINA KAPLAN (“SUPT KAPLAN”) was at all relevant

times the Superintendent of BHCF. SUPT KAPLAN is sued in her individual capacity.

      26.    Defendant BRIAN KUBIK (“SUPT KUBIK”) was at all relevant times

the Superintendent of Lakeview. SUPT KUBIK is sued in his individual capacity.

      27.    TANYA MITCHELL-VOYD (“SUPT MITCHELL-VOYD”), was at all

relevant times Superintendent at Taconic. SUPT MITCHELL-VOYD is sued in her

individual capacity.

      28.    Defendants JAMES W. CASTONGUAY (“CO CASTONGUAY”),

JORDAN MIDDLEBROOKS (“CO MIDDLEBROOKS”), WILLIE SMITH (“CO

SMITH”), and DAVID STUPNICK (“CO STUPNICK”) were at all relevant times

correction officers at Albion CF. They are sued in their individual capacities.

      29.    Defendants NARESH DEOSARRAN (“CO DEOSARRAN”), JOSE

GUZMAN (“CO GUZMAN”), TIFFANY PAIGE (“CO PAIGE”), and RASHEEN
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SMALLS (“CO SMALLS”) were at all relevant times correction officers at BHCF.

They are sued in their individual capacities.

      30.    Defendants MATTHEW ANTOLINI (“CO ANTOLINI”), JAMES BEAM

(“CO BEAM”), and JUAN VASQUEZ (“CO VASQUEZ”) were at all relevant times

correction officers at Lakeview. They are being sued in their individual capacities.

      31.    Defendants NANCY LOPEZ (“CO LOPEZ”), KEFFION LOVELACE

(“CO LOVELACE”), and PEDRO NORDE (“CO NORDE”) were at all relevant times

correction officers at Taconic. They are sued in their individual capacities.

      32.    MELINDA HANZLIAN (“INV HANZLIAN”) and ALVI CASTRO (“INV

CASTRO”) were, at all relevant times, investigators at DOCCS’s Office of Special

Investigations.


                             FACTUAL ALLEGATIONS

I.    GENERAL ALLEGATIONS REGARDING THE TREATMENT OF WOMEN
      PRISONERS IN NEW YORK STATE

      33.    DOCCS operates six prisons across New York State that house women

who have been convicted of crimes.

      34.    Albion CF is a medium-security, all-female prison with a total capacity

of 1,100 and a population of 1,083 as of April 2017.

      35.    BHCF is a high-security, all-female facility with a total capacity of 926

beds and, as of October 2018, a population of 760 women.

      36.    Taconic is a medium-security, all-female facility with a total capacity of

379 and a population of 329 as of October 2018.



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      37.    Lakeview, sometimes referred to as “Lakeview Shock,” is a special “boot

camp” or “shock incarceration” program that is mixed gender. It housed 105 female

inmates as of January 1, 2018. Lakeview inmates agree to go through a rigorous

physical and educational training program that involves, among other things,

humiliation at the hands of staff, who are known as “drill instructors.” If an inmate

successfully completes the program, she can benefit from a reduction in her sentence.

      38.    As described in further detail below, women at these facilities are

routinely guarded by men working alone, including during overnight shifts in the

women’s housing units.

      39.    As a general matter, inmates are required to follow directions or verbal

commands given by correction officers.

      40.    A female inmate who does not obey a direct order by a male correction

officer can be “written up” or subject to discipline, which can include solitary

confinement, loss of phone privileges, loss of family visits, or loss of commissary.

      41.    “Commissary” refers to a financial account that inmates are permitted

to use to buy basic items in prison, such as soap, feminine hygiene products, and

canned foods. Money is placed in an inmate’s commissary account either by outside

family or friends or through prison employment.

      42.    In DOCCS facilities, inmates and guards refer to the outdoor recreation

space where inmates can congregate as the “yard.”

      43.    Many yards in DOCCS facilities do not have surveillance cameras.




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       44.       In DOCCS facilities, the “Bubble” refers to a glass-enclosed or open area,

usually near the entrance to a particular prison unit, where an officer in charge of

the unit sits.

       45.       In many cases, an officer in the Bubble can electronically control the

opening and closing of cell doors.

       46.       In DOCCS facilities, the “count” refers to a period of time during the day

when all movement within the prison is stopped so that staff can count the number

of inmates to ensure that all are accounted for. Once the count “clears,” normal

movement and activity in the prison can resume.

       47.       “Grooming” is a term used by social scientists to refer to the process by

which a person intent on engaging in illegal sexual activity, such as with a child or

with an inmate, gains trust from a vulnerable victim in order to gain sexual access to

the victim without the victim revealing the sexual contact to someone who might

prevent it.

       48.       Male correction officers intent on engaging in sexual contact with female

inmates frequently groom their victims by spending time speaking to them, allowing

them to break seemingly arbitrary or minor prison rules, and providing them

material gifts that make them more comfortable in prison, which can range from soap

to alcohol or illegal drugs. Female inmates are sometimes temporarily deceived into

believing that such contact is consistent with a normal romantic relationship, when

it is actually a ploy to permit prison staff to engage in illegal sexual activity.




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      49.    The Prison Rape Elimination Act (“PREA”) is a 2003 federal law aimed

at preventing rape and sexual abuse at prisons. Detailed regulations are in place

pursuant to PREA and PREA audits are required at least once every three years. A

“PREA complaint” refers to a complaint regarding sexual misconduct inside a prison.

      50.    The Office of Special Investigations (“OSI”) is a unit within DOCCS

overseen by COMMR ANNUCCI and COMMR EFFMAN that has responsibility for,

among other things, investigating allegations of sexual assault.

      51.    The “PREA Hotline” is a special phone number that inmates may use to

make complaints relating to sexual abuse.


II.   THE SPECIFIC SEXUAL ASSAULTS OF PLAINTIFFS BY DOCCS
      CORRECTION OFFICERS

                A. Officers WILLIE SMITH, JAMES W. CASTONGUAY, and
                   JORDAN MIDDLEBROOKS sexually assaulted JANE STONE
                   #6 at Albion Correctional Facility.
      52.    From approximately November 2018 to September 2019, JANE STONE

#6 was housed in the “M1” dorm building at Albion CF.

      53.    The M1 dorm is known as a “reception dorm.”

      54.    The reception dorm typically houses inmates that have been recently

transferred to the facility and are awaiting a more permanent dorm assignment.

      55.    JANE STONE #6 was initially housed at the M1 dorm as a new

transferee. In or about December 2018, she was assigned to be the unit’s “Officer’s

Clerk,” as well as a laundry porter.

      56.    As the Officer’s Clerk, JANE STONE #6 was responsible for helping

orient new inmates. She would read pre-written speeches to new inmates, direct them

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toward orientation, teach them about the dress code, and answer any general

questions about the facility.

       57.   JANE STONE #6 was assigned to M1 dorm for in or about November

2018 until in or about September 2019.

       58.   When JANE STONE #6 first moved into the M1 dorm, CO SMITH was

assigned the 7:00 a.m. to 3:00 p.m. shift in her unit.

       59.   During the first few weeks he was there, CO SMITH began to ask JANE

STONE #6 personal questions and tried to peer over her cube wall after she showered.

       60.   CO SMITH repeatedly made inappropriate comments to JANE STONE

#6, including, on several occasions, asking her to touch his penis. JANE STONE #6

refused.

       61.   CO SMITH was not afraid that he would get caught because he would

get a phone call from the other units warning him that a supervisor was about to

make rounds.

       62.   JANE STONE #6 overheard these phone calls several times. She heard

CO SMITH say, “Thank you for the heads up.”

       63.   JANE STONE #6 then overheard CO SMITH immediately pick up the

phone and dial the next unit over and say that another dorm had warned him that

“the white shirts are coming.”

       64.   CO SMITH would either yell loudly in the dorm or use a microphone

over the PA system to warn everyone to get in place because supervisors were on the

way.



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       65.     JANE STONE #6 did not report CO SMITH’s behavior because she was

afraid.

       66.     JANE STONE #6 applied to be transferred to another dorm on several

occasions in this time period.

       67.     JANE STONE #6 wanted to be transferred because CO SMITH made

sexual advances on her, and she wanted to get away from him.

       68.     JANE STONE #6’s applications for transfers were denied.

       69.     JANE STONE #6 was told that her applications were denied because

there was a “captain’s hold” on her.

       70.     On one occasion, CO SMITH asked JANE STONE #6 if he could borrow

$5,000 from her to start his own business.

       71.     At the same time, CO CASTONGUAY began to work in the M1 dorm

building during the evening shift.

       72.     On or about April 4, 2019, JANE STONE #6 met CO CASTONGUAY for

the first time.

       73.     JANE STONE #6 also worked as a laundry porter in that timeframe.

The laundry porters do the laundry for all the inmates in the unit.

       74.     At Albion CF, laundry porters worked in the late evenings and overnight,

typically from 10:00 p.m. until 7:00 a.m.

       75.     On April 4, 2019 from approximately 11:00 p.m. to approximately 2:30

a.m. the following day, JANE STONE #6 was doing the evening laundry.




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      76.    During that laundry shift, CO CASTONGUAY approached JANE

STONE #6 and said, “I did not know they were going to give me such a pretty laundry

porter this evening.”

      77.    JANE STONE #6 did not know how to respond to CO CASTONGUAY’s

comment.

      78.    JANE STONE #6 felt intimidated and continued doing her work.

      79.    Later that evening, JANE STONE #6 walked by CO CASTONGUAY’s

post to deliver laundry. When she passed him, he said, “You have a great ass.”

      80.    At approximately 1:15 a.m., CO CASTONGUAY entered the laundry

room where JANE STONE #6 was working and closed the door behind him.

      81.    CO CASTONGUAY turned off the laundry room light.

      82.    CO CASTONGUAY then asked JANE STONE #6 to perform oral sex

on him.

      83.    JANE STONE #6, who is a victim of domestic violence, was afraid to say

no.

      84.    CO CASTONGUAY inserted his penis into JANE STONE #6’s mouth.

      85.    CO CASTONGUAY then told JANE STONE #6 he wanted to “fuck” her.

      86.    Again, JANE STONE #6 was afraid to say no.

      87.    CO CASTONGUAY vaginally penetrated JANE STONE #6.

      88.    CO CASTONGUAY did not use a condom.

      89.    After a few minutes, CO CASTONGUAY removed his penis and

ejaculated on the laundry room floor and a nearby trashcan.



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      90.    CO CASTONGUAY then left the room.

      91.    JANE STONE #6 wiped up CO CASTONGUAY’s ejaculate with a towel

and washed it with the rest of the laundry.

      92.    JANE STONE #6 finished the laundry and then went to bed.

      93.    The next evening, April 5, 2019, at approximately 2:00 or 3:00 a.m., CO

CASTONGUAY entered JANE STONE #6’s cube while she was sleeping and woke

her up by kicking her bed.

      94.    CO CASTONGUAY directed JANE STONE #6 to masturbate for him.

      95.    JANE STONE #6 was afraid to disobey CO CASTONGUAY.

      96.    She complied by touching her vagina with her hand.

      97.    CO CASTONGUAY rubbed his penis through his pants while watching

JANE STONE #6.

      98.    After about 15 minutes, CO CASTONGUAY left JANE STONE #6’s cube

and returned to his post.

      99.    On April 9, 2019, CO CASTONGUAY was assigned to work JANE

STONE #6’s unit again.

      100.   When JANE STONE #6 was alone with CO CASTONGUAY in the

laundry room, CO CASTONGUAY again asked JANE STONE #6 to perform oral sex

on him.

      101.   CO CASTONGUAY inserted his penis into JANE STONE #6’s mouth.

      102.   This time, CO CASTONGUAY ejaculated into JANE STONE #6’s mouth.




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         103.   CO CASTONGUAY told JANE STONE #6, “I cannot get caught doing

this.”

         104.   After CO CASTONGUAY left the laundry room, JANE STONE #6 spit

his ejaculate into the white t-shirt she had been wearing.

         105.   She then finished the laundry and returned to bed.

         106.   She took the t-shirt soiled with CO CASTONGUAY’s semen back to her

cube with her.

         107.   On April 25th, 2019, JANE STONE #6 was working her shift as the

laundry porter.

         108.   CO CASTONGUAY was assigned to her unit that night.

         109.   At approximately 1:30 a.m., CO CASTONGUAY told JANE STONE #6

that she could shower before finishing her shift.

         110.   JANE STONE #6 showered and then returned to the laundry room to

complete her duties.

         111.   CO CASTONGUAY then entered the laundry room, closed the door, and

turned off the lights.

         112.   He again directed JANE STONE #6 to perform oral sex on him.

         113.   CO CASTONGUAY inserted his penis into JANE STONE #6’s mouth.

         114.   CO CASTONGUAY then told JANE STONE #6 to get undressed so that

he could “fuck” her.

         115.   He then vaginally penetrated her with his penis.




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        116.   CO CASTONGUAY pulled his penis out of JANE STONE #6’s vagina

and inserted it into her mouth.

        117.   He then ejaculated into her mouth and onto the floor.

        118.   JANE STONE #6 waited for CO CASTONGUAY to leave the laundry

room.

        119.   She then spit the ejaculate onto a piece of paper.

        120.   She also used a paper towel to wipe up the ejaculate that had spilled

onto the floor.

        121.   She took the piece of paper and the paper towel back to her cube with

her.

        122.   In addition to being raped by CASTONGUAY, JANE STONE #6 was

also sexually harassed and coerced by CO SMITH.

        123.   CO SMITH often called JANE STONE #6 up to the Bubble to speak to

him.

        124.   CO SMITH repeatedly complimented JANE STONE #6’s buttocks.

        125.   Several times, CO SMITH squeezed JANE STONE #6’s buttocks with

his hand.

        126.   On May 1, 2019, six days after JANE STONE #6 was raped by

CASTONGUAY, CO SMITH told JANE STONE #6 that he wanted to watch her have

sex with another female inmate.




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       127.   In the afternoon, while the other inmates were at their programs, CO

SMITH directed JANE STONE #6 to go to her cube to have sex with another inmate

while he watched.

       128.   JANE STONE #6 was nude with her vaginal region exposed to CO

SMITH while the other inmate penetrated JANE STONE #6 with her tongue.

       129.   CO SMITH told the women to have sex in front of him twice that same

day.

       130.   One time, CO SMITH stood in the empty cube next to JANE STONE

#6’s cube and watched them over the wall.

       131.   The other time, he stood outside JANE STONE #6’s cube and peered in

at the two women.

       132.   CO SMITH later repeatedly told JANE STONE #6 and the other inmate

that he would see them on the outside the day after they were released.

       133.   When new inmates arrived at the M1 dorm, CO SMITH would give a

speech warning them that if they “messed with one officer,” they were “messing with

them all.”

       134.   JANE STONE #6 was afraid to report CO SMITH’s behavior to

supervising officers because she was afraid of retaliation.

       135.   JANE STONE #6 gave the t-shirt soiled with CO CASTONGUAY’s

ejaculate to a friend during a visit.

       136.   JANE STONE #6 eventually turned over the piece of paper and paper

towel with CO CASTONGUAY’s ejaculate to OSI.



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      137.   From February to September 2019, JANE STONE #6 was also sexually

assaulted by CO MIDDLEBROOKS.

      138.   CO MIDDLEBROOKS is in in his 60s.

      139.   He was assigned to the 3:00 p.m. to 11:00 p.m. shift in the M1 dorm.

      140.   CO MIDDLEBROOKS was known as a lenient officer who was

uninterested in supervising the inmates and would often sleep through his shift.

      141.   CO MIDDLEBROOKS would hide liquor in his bags.

      142.   He would sneak liquor into the facility in water bottles.

      143.   He would drink from the liquor-filled bottles throughout his shift.

      144.   He would often share the liquor with the inmates he supervised,

including JANE STONE #6.

      145.   CO MIDDLEBROOKS would also sneak in food for JANE STONE #6

and a few other female inmates.

      146.   The food he brought in included pizza, chicken wings, and sandwiches.

      147.   CO MIDDLEBROOKS repeatedly made verbal sexual advances on

JANE STONE #6.

      148.   CO MIDDLEBROOKS told JANE STONE #6 that she “drove [him] nuts.”

      149.   CO MIDDLEBROOKS would have personal conversations with JANE

STONE #6, telling her about his love life.

      150.   CO MIDDLEBROOKS would frequently swap his bid to an evening shift.




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        151.   Upon information and belief, CO MIDDLEBROOKS swapped his shift

because he hoped to convince one of the inmates to have sex with him in the laundry

room.

        152.   From February to September 2019, on more than five occasions, CO

MIDDLEBROOKS would follow JANE STONE #6 to the laundry room, to her cube,

or order her to meet him in the employee break room, where he would have her touch

his penis over his clothes.

        153.   From February to September 2019, on more than ten occasions, CO

MIDDLEBROOKS entered JANE STONE #6’s cube to view her naked body and to

grab her breasts and buttocks.

        154.   The position of JANE STONE #6’s cube allowed a person in it to see if

anyone was coming into the unit who might observe what was happening in the cube.

        155.   Upon information and belief, CO MIDDLEBROOKS was not concerned

that he would be caught because he believed he could see if anyone was coming into

the unit who might observe the sexual conduct occurring in JANE STONE #6’s cube.

        156.   JANE STONE #6 did not report CO SMITH, CO MIDDLEBROOKS, or

CO CASTONGUAY through the PREA Hotline because the hotline required that the

inmate’s DIN# be entered when making a report.

        157.   A DIN# is an individual identity number that DOCCS assigns to each

inmate upon his or her commitment to supervision.

        158.   JANE STONE #6 feared that her identity would be revealed to the

officers if she reported their misconduct via the hotline.



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       159.   JANE STONE #6 had observed other inmates who filed complaints

against correction officers being treated more harshly after filing their complaints.

       160.   In mid- to late May 2019, JANE STONE #6 learned from another inmate

that CO CASTONGUAY had raped another inmate, JANE STONE #1, who had

reported it to PREA.

       161.   JANE STONE #6 learned from the inmate that CO CASTONGUAY had

told JANE STONE #1 that he had “raped another inmate and gotten away with it.”

       162.   JANE STONE #6 was afraid that others would discover that she was

CO CASTONGUAY’s other victim.

       163.   JANE STONE #6 overheard officers calling JANE STONE #1 a liar.

       164.   JANE STONE #6 learned from other inmates that JANE STONE #1 was

sent to solitary confinement, known in DOCCS as the Special Housing Unit (“SHU”),

as a consequence of her PREA complaint.

       165.   JANE STONE #6 overheard the correction officers saying that JANE

STONE #1 lied about being raped because they heard that the examination showed

no DNA evidence.

       166.   JANE STONE #6 told CO SMITH that she knew JANE STONE #1’s

claims were true because CO CASTONGUAY had also sexually assaulted JANE

STONE #6.

       167.   Upon information and belief, CO SMITH never reported that CO

CASTONGUAY had assaulted JANE STONE #6 or took any other action to protect

her.



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      168.   A few days later, following an anonymous letter from another inmate,

JANE STONE #6 was interviewed by an OSI investigator.

      169.   JANE STONE #6 told the investigator the dates and times of the

assaults so that he could preserve video evidence.

      170.   Upon information and belief, OSI was unable to recover camera

recordings corroborating the attacks because the cameras record over footage every

90 days.

      171.   On May 28, 2019, JANE STONE #6 met with OSI and her then-attorney

and gave a written statement regarding CO CASTONGUAY’s assaults, as well as the

paper towel and piece of paper she had used to clean up CO CASTONGUAY’s semen.

      172.   JANE STONE #6 continued to cooperate with OSI after her release from

Albion CF.

      173.   After she was released, JANE STONE #6 also reported to OSI the

assaults by CO SMITH and CO MIDDLEBROOKS.

      174.   JANE STONE #6 testified in the grand jury against CO CASTONGUAY.

      175.   In or about January 2020, CO CASTONGUAY was indicted for raping

JANE STONE #6 and JANE STONE #1.

      176.   In or about January 2020, OSI investigators directed JANE STONE #6

to make a recorded call to CO MIDDLEBROOKS with the investigators listening.

      177.   After receiving direction from the investigators on what information to

elicit, JANE STONE #6 spoke to CO MIDDLEBROOKS on the phone with the

investigators listening.



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      178.   On the call between JANE STONE #6 and CO MIDDLEBROOKS, CO

MIDDLEBROOKS confirmed his identity and the fact that he was a correction officer

at Albion CF while JANE STONE #6 was an inmate.

      179.   On the call between JANE STONE #6 and CO MIDDLEBROOKS, CO

MIDDLEBROOKS also confirmed that CO MIDDLEBROOKS had kissed JANE

STONE #6 and had other inappropriate physical contact with JANE STONE #6 while

JANE STONE #6 was an inmate at Albion CF.

      180.   On the call between JANE STONE #6 and CO MIDDLEBROOKS, CO

MIDDLEBROOKS also confirmed that CO MIDDLEBROOKS had given his phone

number to JANE STONE #6 while JANE STONE #6 was an inmate at Albion CF for

the purposes of having sex with JANE STONE #6 after her release.

      181.   After the call, the investigators who had listened to both sides of the call

on earpieces congratulated JANE STONE #6 and said the call was very successful.

      182.   The investigators then told JANE STONE #6 that they had set up the

recording function incorrectly and they only recorded JANE STONE #6’s side of the

conversation.

      183.   The investigators asked JANE STONE #6 to make another recorded call,

but JANE STONE #6 refused.

      184.   JANE STONE #6 was deeply emotionally disturbed by not only having

to relive her sexual abuse on the call, but also by pretending to be interested in

meeting up with her sexual abuser.




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       185.   Upon information and belief, no criminal charges have been filed against

CO MIDDLEBROOKS in connection with his sexual assaults on JANE STONE #6.

       186.   Upon information and belief, no referral for prosecution or investigation

of CO MIDDLEBROOKS was made to any other law enforcement agency or

prosecutor’s office.

       187.   Upon information and belief, no DOCCS disciplinary action has been

taken against CO MIDDLEBROOKS for the actions described above, and he

continues to work at Albion CF.

       188.   Upon information and belief, no charges have been filed against CO

SMITH.

       189.   Upon information and belief, no referral for prosecution or investigation

of CO SMITH was made to any other law enforcement agency or prosecutor’s office.

       190.   Upon information and belief, no DOCCS disciplinary action has been

taken against CO SMITH for the actions described above, and he continues to work

at Albion CF.

       191.   As a result of the multiple rapes and sexual assaults JANE STONE #6

suffered at the hands of CO SMITH, CO CASTONGUAY, and CO MIDDLEBROOKS,

she suffers from night terrors, anxiety, and depression.

       192.   Although she is no longer incarcerated, JANE STONE #6 suffers from

anxiety and flashbacks.

       193.   JANE STONE #6 is anxious and fearful when doing laundry in her own

home as a result of her repeated sexual abuse in the Albion CF laundry room.



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                  B. Officer JAMES W. CASTONGUAY orally, vaginally, and anally
                     raped JANE STONE #1 in the laundry room at Albion
                     Correctional Facility after raping JANE STONE #6.
      194.     On May 12, 2019, JANE STONE #1 was housed in the “I1” dorm

building at Albion CF.

      195.     The dorm consists of “cubes” or bedding units with walls that do not go

all the way up to the ceiling.

      196.     At approximately 10:45 p.m., JANE STONE #1 returned from Ramadan

services and took a shower.

      197.     CO CASTONGUAY, whom JANE STONE #1 had never met before,

entered the shower stall and looked at JANE STONE #1, who was nude.

      198.     There was no emergency or other legitimate reason for CO

CASTONGUAY to be in the shower area where JANE STONE #1 was unclothed.

      199.     CO CASTONGUAY did not announce his entrance or give JANE

STONE #1 any time to cover up.

      200.     CO CASTONGUAY asked JANE STONE #1 what she was doing.

      201.     JANE STONE #1 stated that she was showering.

      202.     CO CASTONGUAY told JANE STONE #1 that it was about to be the

count and for her to hurry.

      203.     He then left the shower area.

      204.     CO CASTONGUAY was wearing a body camera throughout the

interaction.

      205.     JANE STONE #1 observed that the body camera was turned off because

she saw the red light, which indicated that recording was not on.

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      206.   Upon information and belief, there were no other officers assigned to the

unit at that time.

      207.   No other officers were present in the unit at that time.

      208.   JANE STONE #1 left the shower and immediately reported the incident

to another inmate.

      209.   JANE STONE #1 did not report the incident to prison officials because

she was afraid of retaliation from staff, including other officers.

      210.   Later that night, throughout the overnight shift, CO CASTONGUAY

walked around the dorm, pausing outside of JANE STONE #1’s cube multiple times.

      211.   At some point that night, CO CASTONGUAY walked into JANE

STONE #1’s cube.

      212.   Once in the cube, CO CASTONGUAY pulled out his penis.

      213.   CO CASTONGUAY pushed this penis towards JANE STONE #1’s head

instructing JANE STONE #1 to perform oral sex on him.

      214.   CO CASTONGUAY then put his penis in JANE STONE #1’s mouth.

      215.   CO CASTONGUAY turned JANE STONE #1 around on her bed and

vaginally penetrated her from behind with his penis.

      216.   CO CASTONGUAY told JANE STONE #1 to get dressed and go to the

laundry room.

      217.   Once in the laundry room, CO CASTONGUAY entered the laundry room

and, using force, orally, vaginally, and anally raped JANE STONE #1.

      218.   CO CASTONGUAY did not use a condom.



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       219.   CO CASTONGUAY said, “You’re not going to tell anyone, right?”

       220.   CO CASTONGUAY then shoved his penis into JANE STONE #1’s

mouth and ejaculated.

       221.   Once CO CASTONGUAY left the laundry room, JANE STONE #1 spit

the ejaculate into a sock.

       222.   JANE STONE #1 called the PREA Hotline to report the incident at her

first opportunity.

       223.   No one answered the PREA Hotline until later that day, after 8:00 a.m.

       224.   The watch commander, who is male, ordered JANE STONE #1 to come

to the sally port and asked her about “these accusations.”

       225.   JANE STONE #1 refused to answer questions about her PREA

complaint in a public setting.

       226.   The watch commander took JANE STONE #1 to a private office and

again asked about the accusations.

       227.   JANE STONE #1 told him that she had CO CASTONGUAY’s sperm.

       228.   Around 2:30 p.m., JANE STONE #1 was transferred to a hospital for a

rape kit.

       229.   Before she was transferred, JANE STONE #1 was held at the medical

unit at Albion CF, where an unidentified correction officer approached her and called

her a liar.

       230.   JANE STONE #1 provided the sock containing the ejaculate to

investigators from OSI.



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      231.   When JANE STONE #1 returned to her unit, the other inmates told her

that they knew about the incident.

      232.   In September 2019, CO CASTONGUAY was charged with criminal

sexual act in the third-degree, official misconduct, and rape in the third-degree for

his sexual assault on JANE STONE #1.

      233.   Upon information and belief, CO CASTONGUAY had raped another

female inmate, who is in fact JANE STONE #6, prior to his rape of JANE STONE #1.

      234.   In or about January 2020, CO CASTONGUAY was indicted for raping

JANE STONE #1 and JANE STONE #6.

      235.   As a result of the rape, JANE STONE #1 suffers from depression and

Post-Traumatic Stress Disorder (“PTSD”) and has been medicated by a mental health

specialist to treat those conditions.

                 C. At Albion Correctional Facility, DAVID STUPNICK engaged in
                    illegal sexual contact with JANE STONE #2 for almost two
                    years, including at least four more times after DOCCS
                    Investigators learned of the abuse.
      236.   JANE STONE #2 first met CO STUPNICK in or about June 2017 while

she was living in the “L2” dorm at Albion CF.

      237.   CO STUPNICK would go out of his way to speak to JANE STONE #2,

even searching for her in the Chapel.

      238.   In or about August 2017, JANE STONE #2 was transferred to the “I1”

dorm building.

      239.   In that timeframe, the I1 dorm building was one of the units in which

CO STUPNICK regularly worked.


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         240.   In that timeframe, CO STUPNICK worked the 7:00 a.m. to 3:00 p.m.

shift.

         241.   CO STUPNICK was the only officer assigned to the unit during his shift.

         242.   The I1 dorm housed 60 women in bunk beds and individual cubes.

         243.   After JANE STONE #2 was moved to I1 in August 2017, CO STUPNICK

spent long periods of time during the day engaging JANE STONE #2 in personal

conversations.

         244.   During CO STUPNICK’s shift, correction officers on other units would

routinely radio ahead to warn other correction officers when supervisory rounds were

about to occur.

         245.   During his conversations with JANE STONE #2, CO STUPNICK did

not appear worried that he would be caught speaking to JANE STONE #2 for

extended periods.

         246.   In or about November 2017, JANE STONE #2 was transferred to the

“J2” dorm.

         247.   CO STUPNICK worked in the “J1” dorm twice a week during the 3:00

p.m. to 11:00 p.m. shift.

         248.   The J1 and the J2 dorms were connected by a locked door that the

correction officers could access with a key.

         249.   After JANE STONE #2 was transferred, CO STUPNICK continued to

meet with JANE STONE #2 and spent long periods of time speaking with her at the

officer’s desk.



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      250.      In or about December 2017, CO STUPNICK kissed JANE STONE #2 on

the lips inside another inmate’s cube in the J1 dorm.

      251.      In or about January 2018, JANE STONE #2 was transferred to the Mess

Hall Dorm.

      252.      One night shortly after JANE STONE #2 was moved, CO STUPNICK

swapped bids to work in her unit.

      253.      CO STUPNICK directed JANE STONE #2 to lay on the bed.

      254.      While JANE STONE #2 was on the bed, CO STUPNICK kissed her.

      255.      He then slid his hand into her shorts and digitally penetrated her vagina.

      256.      In or about April 2018, JANE STONE #2 was transferred to the L1 dorm.

      257.      At that time, CO STUPNICK began swapping his bids in order to work

at the L1 dorm during the 3:00 p.m. to 11:00 p.m. shift.

      258.      Every time CO STUPNICK swapped to L1, he would take JANE STONE

#2 to a cube and digitally penetrate her vagina.

      259.      Usually, CO STUPNICK would use the corner cube of a different inmate.

      260.      CO STUPNICK sent JANE STONE #2 intimate letters that were often

sexual in nature.

      261.      In or about August 2018, JANE STONE #2 was moved to the J1 dorm

where CO STUPNICK worked.

      262.      CO STUPNICK worked at the J1 dorm post twice a week from 3:00 p.m.

to 11:00 p.m.




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      263.   CO STUPNICK engaged in illegal sexual conduct with JANE STONE

#2 in a cube or on the stairs leading up to the officer’s desk every time he worked at

J1 from in or about August 2018 until in or about January 2019.

      264.   In or about August 2018, JANE STONE #2’s cube was searched while

she was out in the yard.

      265.   JANE STONE #2 learned about the search from several inmates who

told JANE STONE #2 that OSI had come and searched her cube.

      266.   JANE STONE #2 was never told by prison officials why her cell was

searched.

      267.   CO STUPNICK told JANE STONE #2 that other correction officers were

advising him to give up his bid or to transfer to another facility because DOCCS staff

were talking about the relationship.

      268.   In or about December 2018, CO STUPNICK began meeting JANE

STONE #2’s sister outside of the facility.

      269.   CO STUPNICK gave JANE STONE #2’s sister approximately $100 a

week to put into JANE STONE #2’s commissary account.

      270.   CO STUPNICK also smuggled cigarettes, nail polish, and makeup for

JANE STONE #2 into the facility.

      271.   CO STUPNICK bought JANE STONE #2 a diamond heart-shaped

necklace from Kay Jewelers.

      272.   CO STUPNICK smuggled the diamond necklace into Albion CF so that

he could give it to JANE STONE #2.



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      273.   Upon information and belief, OSI recovered the necklace.

      274.   In January 2019, JANE STONE #2 was transferred to the “I2” dorm,

the honor dorm, which is another one of CO STUPNICK’s regular posts. He worked

the same 3:00 p.m. to 11:00 p.m. shift two days a week and continued to sexually

abuse her every time he worked.

      275.   By February 2019, CO STUPNICK entered JANE STONE #2’s cube

each night and made JANE STONE #2 perform oral sex on him.

      276.   Later that month, another inmate in I2 dorm reported the relationship.

      277.   Two OSI investigators, INV HANZLIAN and INV CASTRO, called

JANE STONE #2 to the Administration building (“Admin”).

      278.   The investigators asked JANE STONE #2 about her relationship with

CO STUPNICK.

      279.   The investigators told JANE STONE #2 that she had to talk, or they

could charge her with felonies for receiving contraband.

      280.   JANE STONE #2 refused to speak to the investigators.

      281.   CO STUPNICK was not removed.

      282.   JANE STONE #2 returned to the dorm, where CO STUPNICK had her

perform oral sex on him again, the same evening that she spoke to OSI investigators.

      283.   Upon information and belief, over the next few days, INV HANZLIAN

and INV CASTRO called dozens of inmates to Admin to ask about the relationship

between CO STUPNICK and JANE STONE #2.




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        284.   Upon information and belief, CO STUPNICK’s abuse of JANE STONE

#2 was corroborated through those interviews.

        285.   For the next two weeks, CO STUPNICK continued to work in the I2

dorm.

        286.   CO STUPNICK directed JANE STONE #2 to perform oral sex on him at

least three more times.

        287.   At the end of February 2019, JANE STONE #2 met with two OSI

investigators, INV HANZLIAN and a different OSI investigator.

        288.   INV HANZLIAN and the other investigator asked her again about the

relationship with CO STUPNICK and told her that she had to talk, or things “would

only get worse from here.”

        289.   INV HANZLIAN and the other investigator told JANE STONE #2 that

someone had searched her cell and that they had DNA evidence.

        290.   INV HANZLIAN and the other investigator also told her they had

dozens of statements from other inmates about the relationship.

        291.   JANE STONE #2 feared that she would be punished for her own

victimization.

        292.   JANE STONE #2 wrote a statement denying the relationship.

        293.   Later that day, JANE STONE #2 was moved to the A-Block dorm.

        294.   Upon information and belief, CO STUPNICK finished work that day and

then was told he could not return to Albion CF.




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        295.   At the beginning of March 2019, JANE STONE #2 was transferred to

Taconic.

        296.   Upon information and belief, in May 2019, CO STUPNICK wrote a full

confession of his illegal sexual contact with JANE STONE #2 and of sexual contact

with a separate inmate at Albion CF whom he had also raped.

        297.   CO STUPNICK was criminally charged with four counts of second-

degree sex abuse, two counts of third-degree criminal sex acts, and two counts of

official misconduct for his illegal relationship with JANE STONE #2 and another

inmate at Albion CF.

        298.   In or about July 2019, JANE STONE #2 provided a full statement about

the relationship between herself and CO STUPNICK.

        299.   As a result of the abuse, JANE STONE #2 has become anxious, severely

depressed, has trouble sleeping, and cannot trust others.

        300.   JANE STONE #2 sought psychological or psychiatric treatment from

DOCCS for the symptoms of her sexual victimization. JANE STONE #2 was sent to

a DOCCS treatment provider who falsely told her that she “looked fine.”

        301.   To date, JANE STONE #2 has not received any mental health treatment.

                  D. At Taconic Correctional Facility, PEDRO NORDE raped JANE
                     STONE #3 more than twenty times and infected her with
                     herpes.
        302.   JANE STONE #3 was transferred from BHCF to Taconic on May 10,

2018.




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        303.   JANE STONE #3 was assigned to work in the morning in the caustics

department – where inmates prepare cleaning supplies for use – and as a porter in

“81” basement in the afternoon.

        304.   The correction officers assigned to supervise the caustics department

would rotate.

        305.   In or about June 2018, CO NORDE met JANE STONE #3 when he was

assigned to supervise the caustics department. CO NORDE engaged in personal

conversations with JANE STONE #3.

        306.   CO NORDE swapped bids to work in the caustics department frequently

to spend more time with JANE STONE #3.

        307.   JANE STONE #3 was often the only inmate working in the caustics

department and was frequently left alone with CO NORDE.

        308.   On one occasion, CO NORDE propositioned JANE STONE #3 to have

sex and asked her where they should go. JANE STONE #3 told him that she did not

know.

        309.   During this period, CO NORDE gave JANE STONE #3 special

treatment, including agreeing to not write a ticket against JANE STONE #3’s friend

and giving JANE STONE #3 a razor blade.

        310.   At Taconic, inmates receive one razor every two weeks. If an inmate

loses her razor, she may be disciplined.

        311.   During the summer of 2018, JANE STONE #3 lost her razor.




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         312.   CO NORDE learned that JANE STONE #3 had lost the razor and

brought a new razor to JANE STONE #3.

         313.   CO NORDE told her that she owed him for bringing her a razor.

         314.   CO NORDE told JANE STONE #3, “promise daddy you aren’t going to

say anything.”

         315.   CO NORDE also asked JANE STONE #3 if she shaved her pubic hair

with the razor.

         316.   CO LOPEZ told JANE STONE #3 she heard about the razor and told

JANE STONE #3 that she would not report the incident, but that JANE STONE #3

should keep her mouth shut.

         317.   During the summer of 2018, CO NORDE instructed JANE STONE #3

to pull down her pants in her cell and masturbate for him while he performed the

count.

         318.   In or about July 2018, inside the caustics room near the dental unit, CO

NORDE took out his penis in front of JANE STONE #3 and asked her to comment on

it.

         319.   CO NORDE masturbated and ejaculated in front of JANE STONE #3.

         320.   In or about September 2018, JANE STONE #3 no longer was assigned

to the caustics department. She resumed taking classes in the morning, and in the

afternoon from approximately 1:00 p.m. to 3:45 p.m. worked as a porter in 81

basement.




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      321.   On approximately 15 occasions, CO NORDE instructed her to finish her

duties in the afternoon early, then come visit him in the caustics department. CO

NORDE would sometimes then call the officer stationed in the 81 basement to tell

them to send JANE STONE #3 to the caustics department.

      322.   JANE STONE #3 would go to the caustics department where CO

NORDE was waiting for her. Once inside the caustics department, CO NORDE would

masturbate in front of JANE STONE #3.

      323.   On one of these occasions, JANE STONE #3 returned from caustics and

CO LOVELACE commented that “it took a while” for JANE STONE #3 to return.

      324.   CO LOVELACE then called the caustics department in front of JANE

STONE #3. When CO NORDE answered the phone, CO LOVELACE told JANE

STONE #3, “Now I know why you wanted to go to caustics.”

      325.   Upon information and belief, CO LOVELACE knew that JANE STONE

#3 and CO NORDE were engaged in an inappropriate relationship. CO LOVELACE

knew or should have known that this relationship presented an imminent risk to

JANE STONE #3.

      326.   CO LOVELACE never reported the incident to a commanding officer or

took any action to stop the relationship or protect JANE STONE #3.

      327.   Approximately two or three weeks later, CO NORDE shifted his bid

from the caustics department to be stationed in the 81 basement.

      328.   CO NORDE was usually the only officer assigned to 81 basement. In the

81 basement CO NORDE was left alone with JANE STONE #3.



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      329.    CO NORDE took JANE STONE #3 to the staff bathroom and orally and

vaginally raped her.

      330.    Upon information and belief, there was a camera positioned outside the

staff bathroom, but it was not monitored. Had it been monitored, CO NORDE would

have been seen entering and leaving the staff bathroom with JANE STONE #3

multiple times.

      331.    In or about November 2018, JANE STONE #3 learned that CO NORDE

had infected her with Herpes Virus Type 1 and Type 2.

      332.    JANE STONE #3 then filed a PREA complaint against CO NORDE.

      333.    Upon information and belief, when other corrections staff learned that

JANE STONE #3 reported her relationship with CO NORDE, they retaliated by

conducting additional pat frisks and cell searches on JANE STONE #3.

      334.    Upon information and belief, no criminal charges have been filed against

CO NORDE.

      335.    Upon information and belief, no referral for prosecution or investigation

of CO NORDE was made to any other law enforcement agency or prosecutor’s office.

      336.    Upon information and belief, no DOCCS disciplinary action has been

taken against CO NORDE for the actions described above, and he continues to work

at Taconic.




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                   E. At Lakeview, JAMES BEAM raped JANE STONE #4 during the
                      same period that his friend MATTHEW ANTOLINI raped
                      another female inmate.
      337.      JANE STONE #4 arrived at Lakeview in January 2017 and was

assigned to the “G1” dorm, which housed approximately 60 women. The dorm was

further broken up into smaller “platoons” of about 12-24 women.

      338.      Lakeview structures its program to mirror a boot-camp to “shock”

offenders into changing their behavior. The program is supposed to last for six months

and prepares these non-violent inmates for consideration for early release.

      339.      CO VASQUEZ was initially assigned to lead JANE STONE #4’s platoon.

      340.      Upon information and belief, JANE STONE #4 met CO BEAM in

February 2017, when he served as a substitute for CO VASQUEZ.

      341.      CO BEAM typically worked the night shift from approximately 3:00 p.m.

to 11:00 p.m.

      342.      CO BEAM singled out JANE STONE #4 for attention and frequently

approached her to discuss personal matters. In or about March 2017, CO BEAM

began initiating private conversations with JANE STONE #4.

      343.      CO BEAM told JANE STONE #4 that he made sure he was the

substitute officer every time CO VASQUEZ had a day off.

      344.      While housed at G1 dorm, JANE STONE #4 met another inmate named

“Jane Sand.” Jane Sand told JANE STONE #4 that she was engaged in an improper

relationship with CO ANTOLINI.

      345.      Upon information and belief, CO BEAM and CO ANTOLINI were

friends and frequently spent time together outside Lakeview.

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      346.   CO BEAM told JANE STONE #4 that he was a “heavy drinker,” that he

used cocaine, and that he used methamphetamine. CO BEAM would often come into

the facility with a heavy smell of alcohol on his breath.

      347.   CO BEAM entered the facility on numerous occasions with bloodshot

eyes or wearing sunglasses to hide them. CO BEAM was often unsteady on his feet

and seemed off balance.

      348.   Jane Sand told JANE STONE #4 that she had been informed by CO

ANTOLINI that he and CO BEAM would sniff cocaine together, sometimes before

they came into work at Lakeview.

      349.   In or about April 2017, CO BEAM began telling JANE STONE #4 that

her body was “beautiful” and “exotic.” When JANE STONE #4 wore shorts, CO BEAM

complimented her legs and asked “what else is in between” her legs.

      350.   In or about July 2017, CO BEAM began confiding in JANE STONE #4

and discussing more personal details of his life with her, including his relationship

problems and sex life.

      351.   On one occasion, in or about July 2017, CO VASQUEZ overheard CO

BEAM’s personal conversations with JANE STONE #4. The conversation was about

CO BEAM’s girlfriend.

      352.   When CO BEAM walked away, CO VASQUEZ commented to JANE

STONE #4 that this was an inappropriate conversation for an officer to be having

with an inmate.




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      353.    On numerous occasions, CO VASQUEZ also saw CO BEAM order JANE

STONE #4 out of the dorm to speak with him.

      354.    On one occasion, CO BEAM left his entire platoon standing outside

JANE STONE #4’s dorm for an hour while he went inside to flirt with her.

      355.    Upon information and belief, CO VASQUEZ never reported the incident

to the PREA officer, a supervising officer, or anyone else.

      356.    One morning in or about July 2017, while JANE STONE #4 was

cleaning the Bubble after breakfast, CO BEAM cornered her and tried to kiss her.

      357.    JANE STONE #4 moved out of the way to avoid the kiss.

      358.    JANE STONE #4 did not report the incident because she feared

retaliation from other corrections staff and just wanted to graduate from Lakeview.

      359.    JANE STONE #4 wanted to report what CO BEAM was doing to her but

lack of confidential reporting outlets at the facility made her afraid to report the

harassment.

      360.    The phones at Lakeview are locked at all times.

      361.    Inmates are unable to access the phones unless they request a correction

officer to unlock the phones for them.

      362.    Correction officers routinely ask inmates why they are using the phones

before they are willing to unlock them.

      363.    Even after unlocking the phones, correction officers often stand near the

phones during inmate calls in order to overhear their conversations.




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        364.   JANE STONE #4 was afraid to tell the correction officers that she

wanted to use the phone to complain about the rape.

        365.   JANE STONE #4 was also afraid to call a PREA officer, knowing that

the correction officer guarding her telephone use would overhear any allegations she

made.

        366.   CO BEAM threatened to write JANE STONE #4 up if she told anyone

about his actions.

        367.   Around the same time, Jane Sand confided in JANE STONE #4 that CO

ANTOLINI was making physical advances towards Jane Sand whenever she went to

use the restroom at night, including grabbing her and kissing her.

        368.   On multiple occasions, in or about July 2017, CO BEAM would wait for

other inmates to be outside or otherwise occupied, and then would enter JANE

STONE #4’s cubicle to try to kiss her.

        369.   On or about July 27, 2017, JANE STONE #4 and Jane Sand were told

that they had failed the Shock program and did not qualify for a shorter sentence.

JANE STONE #4 and Jane Sand were the only two inmates in their platoon to not

earn early release.

        370.   JANE STONE #4 and Jane Sand were kept at Lakeview for three weeks

before their transfer to another facility. During the daytime in that period, JANE

STONE #4 and Jane Sand were kept alone in their cubes away from other inmates.

        371.   In that period, JANE STONE #4 witnessed CO ANTOLINI kiss Jane

Sand and order her out of her cube numerous times to be alone with her.



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        372.   One night, JANE STONE #4 overheard noises that sounded like sexual

activity from the staff bathroom where she knew CO ANTOLINI was inside with Jane

Sand.

        373.   Jane Sand returned to her cube and immediately told JANE STONE #4

that she had sex with CO ANTOLINI.

        374.   In this same period of time, CO ANTOLINI demonstrated that he was

aware of CO BEAM’s inappropriate advances towards JANE STONE #4, and CO

BEAM’s desire to take it further.

        375.   CO ANTOLINI told JANE STONE #4 that she should “go along with”

the sexual activity.

        376.   CO ANTOLINI told JANE STONE #4 that she should not “break his

heart” and that she should give CO BEAM a chance, and made other remarks

encouraging JANE STONE #4 to pursue an inappropriate sexual relationship with

CO BEAM.

        377.   One day during the three weeks before her transfer from Lakeview, CO

BEAM cornered JANE STONE #4 in her cube, and forcefully grabbed her and pressed

his body against hers.

        378.   On this occasion, CO BEAM kissed JANE STONE #4 and pressed his

clothed, erect penis against her body.

        379.   A few days later, CO BEAM brought JANE STONE #4 and Jane Sand

lotions and shampoo that were not available inside the Lakeview and allowed them

to take a lengthy shower.



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      380.   As JANE STONE #4 exited the bathroom wearing only her robe, CO

BEAM ordered JANE STONE #4 to go into the Bubble with him.

      381.   CO BEAM directed Jane Sand to keep watch so he would not be caught

with JANE STONE #4.

      382.   Once JANE STONE #4 entered the Bubble, CO BEAM kissed her and

pushed her against the wall.

      383.   CO BEAM directed JANE STONE #4 to have sexual intercourse with

him and then penetrated her vagina with his penis.

      384.   After this incident, CO BEAM became increasingly aggressive with

JANE STONE #4 and continually attempted to kiss her.

      385.   JANE STONE #4 was later transferred to Taconic to serve the

remainder of her sentence.

      386.   CO BEAM continued to contact JANE STONE #4 at Taconic.

      387.   CO BEAM set up a post office box to use as a return address for his

letters to JANE STONE #4.

      388.   Upon information and belief, an employee at the post office recognized

CO BEAM as a correction officer and reported his contact with an inmate to OSI.

      389.   JANE STONE #4 later disclosed the details of her abuse along with Jane

Sand’s abuse to investigators.

      390.   In December 2017, CO BEAM was charged with third-degree rape and

official misconduct for his relationship with JANE STONE #4.




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      391.   In January 2018, CO BEAM’s friend CO ANTOLINI was charged with

official misconduct for his relationship with Jane Sand.

      392.   In April 2019, Jane Sand died of a drug overdose shortly after her

release from DOCCS custody.

                 F. At Bedford Hills Correctional Facility, RASHEEN SMALLS
                    repeatedly abused JANE STONE #5, including raping her in a
                    utility closet.
      393.   Beginning in or about 2011, JANE STONE #5 was housed as an inmate

in the 114A/B Unit at BHCF.

      394.   In late 2014 and early 2015, CO SMALLS met JANE STONE #5 when

he began working in that unit.

      395.   CO SMALLS was assigned to work the second shift from 3:30 p.m. to

midnight during that time period.

      396.   During the second shift, a second officer was assigned to the unit, but

the officer typically remained in the Mess Hall or in the yard. Once the yard closed

for the night, the second officer joined the first officer for cell searches and lockup.

      397.   Over the first several months after they met, CO SMALLS and JANE

STONE #5 had conversations regarding their personal lives.

      398.   CO SMALLS began sliding personal letters to JANE STONE #5 under

her door.

      399.   JANE STONE #5 would stand talking to CO SMALLS for several hours

at a time at the “Bubble,” which is the enclosed area from which correction officers

would view inmates.



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      400.    CO SMALLS used these conversations and letters to groom JANE

STONE #5 for illegal sexual activity.

      401.    CO DEOSARRAN saw JANE STONE #5 standing by the Bubble for a

long period of time.

      402.    CO DEOSARRAN told JANE STONE #5 that she was spending too

much time at the Bubble talking to CO SMALLS.

      403.    CO DEOSARRAN told JANE STONE #5 to “watch what [she was] doing.”

      404.    Upon information and belief, several unknown correction officers

warned CO SMALLS to be careful when interacting with JANE STONE #5 because

the relationship was becoming too personal.

      405.    These unknown officers knew that CO SMALLS was grooming JANE

STONE #5 for sexual activity but failed to report it or otherwise intervene to protect

JANE STONE #5.

      406.    During the evening count, CO SMALLS would let JANE STONE #5 out

of her cell so that she could bring buckets of hot water to the inmates being held in

“Keeplock.”

      407.    Keeplock is a disciplinary status at BHCF where an inmate is locked in

her cell for 23 hours a day with one hour for recreation. It differs from SHU because

the inmate is confined in her own cell instead of a solitary unit.

      408.    Other officers would allow other porters to bring the water to the

Keeplock inmates, but CO SMALLS would always choose JANE STONE #5 so that

he could spend time with her after she had finished delivering the water.



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      409.   Each night after the evening count, the number of inmates would need

to be verified among all the units. The officer in charge of each unit would call in his

count number to the Watch Commander on duty. Once all counts were submitted to

the Watch Commander, regular inmate movement would resume. This process

typically took about thirty minutes. Most inmates remained locked in their cells

during the count verification process.

      410.    Starting in the winter of 2014, CO SMALLS used the time while there

was no movement in the unit during the count verification process to sexually exploit

JANE STONE #5.

      411.   One night, during the count verification, CO SMALLS ordered JANE

STONE #5 to go from her cell to the utility closet behind the Bubble.

      412.   The utility closet was widely known to staff and inmates as an area that

was outside of the visual range of cameras and therefore was unmonitored.

      413.   CO SMALLS then entered the closet and kissed JANE STONE #5.

      414.   CO SMALLS was not afraid of being caught by a supervisor because

correction officers routinely and predictably radioed each other to warn the unit

officers when a supervisor was coming.

      415.   A few nights later, during the count, CO SMALLS again directed JANE

STONE #5 to meet him in the utility closet behind the Bubble.

      416.   Once CO SMALLS and JANE STONE #5 were inside the utility closet,

CO SMALLS put on a condom that he had brought through security into the facility.

      417.   CO SMALLS then inserted his penis into JANE STONE #5’s vagina.



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      418.    On another night a few days later, CO SMALLS and JANE STONE #5

again met in the utility closet where he put his penis in her mouth and then in her

vagina.

      419.    On two occasions in early 2015, CO SMALLS brought water bottles filled

with vodka into the facility and gave them to JANE STONE #5 to drink.

      420.    The relationship between CO SMALLS and JANE STONE #5 was so

open and notorious that other inmates would ask JANE STONE #5 to request favors

from CO SMALLS on their behalf.

      421.    For example, another inmate asked JANE STONE #5 to get CO

SMALLS to transfer her girlfriend, another inmate, into the unit.

      422.    About a month after CO SMALLS had sexual intercourse with JANE

STONE #5 for the first time, CO PAIGE told JANE STONE #5 that her relationship

with CO SMALLS was obvious and that all of the correction officers were talking

about it.

      423.    Upon information and belief, CO PAIGE did not report the relationship

to any supervisors, including the PREA officer or any commanding officer.

      424.    CO GUZMAN was a friend of CO SMALLS.

      425.    A short time after CO PAIGE confronted JANE STONE #5, CO

GUZMAN told JANE STONE #5 that JANE STONE #5 was going to get CO SMALLS

in trouble.

      426.    At the same time, CO GUZMAN was involved in a sexual relationship

with another inmate, “Jane Sand #2,” who worked on the paint crew and yard crew



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with JANE STONE #5. Though Jane Sand #2 never told JANE STONE #5 any

specifics about the relationship, she did confirm that a relationship existed.

      427.   In December 2014, CO GUZMAN told JANE STONE #5 that he was

under investigation because of his relationship with Jane Sand #2 and other

unnamed inmates.

      428.   At no time did CO PAIGE or CO GUZMAN advise JANE STONE #5 to

file a PREA complaint.

      429.   At no time did CO PAIGE or CO GUZMAN report the suspected

relationship between JANE STONE #5 and CO SMALLS to the PREA officer or any

other supervisor or commanding officer.

      430.   CO GUZMAN and CO PAIGE failed to report CO SMALLS’s sexual

contact with JANE STONE #5 even though they knew it was ongoing.

      431.   In December 2014, CO GUZMAN was arrested and charged with third-

degree rape stemming from his relationship with the other inmate.

      432.   Eventually, JANE STONE #5 was transferred to Albion CF.

      433.   While at Albion CF, JANE STONE #5 came to realize that CO SMALLS

had manipulated and used her for his own sexual gratification.

      434.   CO SMALLS surprised JANE STONE #5 by visiting her at Albion CF.

      435.   JANE STONE #5 was afraid that DOCCS would find out about her

relationship with CO SMALLS and punish her.

      436.   One day, while JANE STONE #5 was on her way to work, two

investigators approached JANE STONE #5.



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       437.    In front of other inmates, the investigators pushed JANE STONE #5

against a wall and forcefully handcuffed her.

       438.    The investigators refused to tell JANE STONE #5 why they had cuffed

her.

       439.    The investigators searched JANE STONE #5 and brought her to Admin.

       440.    JANE STONE #5 was then interviewed by two OSI investigators.

       441.    Initially, JANE STONE #5 denied any relationship with CO SMALLS.

       442.    Two OSI investigators told JANE STONE #5 that they already had

evidence and that other officers were currently searching her cell with a blacklight.

       443.    The two OSI investigators told JANE STONE #5 that there was no point

in lying to them about it and that she would get in trouble if she did not tell them

“the truth.”

       444.    JANE STONE #5 believed that her conditional release date could be

delayed if she did not cooperate with the investigation.

       445.    Afraid, JANE STONE #5 eventually wrote a statement about her

relationship with CO SMALLS.

       446.    When JANE STONE #5 returned to her cell, the other inmates began

asking her why DOCCS staff had been searching her cell with a blacklight.

       447.    The same two OSI investigators interviewed JANE STONE #5 at least

once more.

       448.    The same two OSI investigators told JANE STONE #5 that her

statement would remain private.



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      449.   Sometime later, in winter 2015, JANE STONE #5 was again abruptly

and publicly ordered to leave work and to pack up for court.

      450.   JANE STONE #5 did not have court scheduled and no one told her why

she was being brought to court.

      451.   JANE STONE #5 was taken to Taconic, where she was told by DOCCS

staff that she had to testify in the grand jury proceedings against CO SMALLS.

      452.   As soon as JANE STONE #5 arrived at Taconic, inmates and correction

officers began making derogatory comments to her about her relationship with CO

SMALLS.

      453.   Shortly after arriving at Taconic, JANE STONE #5 went out for

recreation in the yard. She was standing by the phones when two male correction

officers approached her. The two officers cornered JANE STONE #5 against the

phones and called her a “snitch.” They told her that they “knew what [she] was at

Taconic to do” and that she just wanted to “bring down a fellow officer” for something

that she “wanted all along.”

      454.   At this time, there were no cameras in the recreation yard at Taconic.

      455.   JANE STONE #5 knew that there were no cameras.

      456.   JANE STONE #5 had been told by other inmates that corrections staff

at Taconic routinely retaliated against inmates by physically abusing them.

      457.   Terrified, JANE STONE #5 immediately left the recreation yard and

reported the incident.




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         458.   JANE STONE #5 asked to be transferred back to Albion CF as soon as

possible.

         459.   JANE STONE #5 was so afraid of continued retaliation by correction

officers at Taconic that she avoided leaving her cell and never returned to the yard

before she was returned to Albion CF.

         460.   In the summer of 2016, after her release, JANE STONE #5 received a

subpoena compelling her to testify against CO SMALLS at his criminal trial.

         461.   JANE STONE #5 testified for a day and then was recalled several days

later.

         462.   On July 1, 2016, CO SMALLS was found guilty by a jury of criminal

sexual act in the third degree and official misconduct.

         463.   CO SMALLS was sentenced to one to three years’ imprisonment and

had to register as a sex offender as a result of his sexual misconduct.

         464.   JANE STONE #5 is currently serving a term of supervised release until

March 29, 2021.

         465.   At any time, JANE STONE #5’s release status could be revoked, and she

could be returned to DOCCS custody.

         466.   JANE STONE #5 fears that if she were returned to DOCCS custody, she

would face retaliation at the hands of correction officers.




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III.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT KAPLAN,
       SUPT KUBIK, AND SUPT MITCHELL-VOYD BY THEIR ACTIONS AND
       FAILURE TO ACT CREATED AN ENVIRONMENT IN DOCCS
       FACILITIES WHERE SEXUAL ABUSE BY STAFF WAS FREQUENT AND
       PREDATORY BEHAVIOR BY CORRECTION OFFICERS WAS NOT
       DETERRED.

       467.   As detailed in the following paragraphs, COMMR ANNUCCI, COMMR

EFFMAN, SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-

VOYD were all (1) responsible for preventing sexual abuse by guards against inmates,

including the Plaintiffs; (2) on notice of the serious risk of sexual abuse by male

guards faced by Plaintiffs and other women incarcerated at Albion CF, BHCF,

Lakeview, and Taconic; and (3) failed to enact and enforce policies that would have

prevented the officers from sexually assaulting Plaintiffs.

                 A. COMMR ANNUCCI and COMMR EFFMAN were responsible
                    for preventing sexual abuse of all DOCCS inmates; SUPT
                    SQUIRES, SUPT KAPLAN, SUPT KUBIK, AND SUPT
                    MITCHELL-VOYD were responsible for preventing sexual
                    abuse in their respective facilities.
       468.   COMMR ANNUCCI was at all relevant times responsible for enacting

policies and procedures to protect the safety of inmates incarcerated in DOCCS and

ensuring that the policies and practices are enforced in DOCCS facilities.

       469.   The United States Department of Justice ("DOJ") regulation at 28 C.F.R.

§ 115.11(b) requires an agency to employ or designate an upper-level, agency-wide

PREA coordinator with sufficient time and authority to develop, implement, and

oversee agency efforts to comply with PREA standards in all its facilities. COMMR

EFFMAN was at all relevant times the individual charged with these responsibilities

for DOCCS.


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       470.   SUPT SQUIRES was at all relevant times responsible for the safety of

the inmates at Albion CF. SUPT SQUIRES was at all relevant times responsible for

creating and enforcing policies and practices that ensure the safety of the inmates at

Albion CF.

       471.   SUPT KAPLAN was at all relevant times responsible for the safety of

the inmates at BHCF. SUPT KAPLAN was at all relevant times responsible for

creating and enforcing policies and practices that ensure the safety of the inmates at

BHCF.

       472.   SUPT KUBIK was at all relevant times responsible for the safety of the

inmates at Lakeview. SUPT KUBIK was at all relevant times responsible for creating

and enforcing policies and practices that ensure the safety of the inmates at Lakeview.

       473.   SUPT MITCHELL-VOID was at all relevant times responsible for the

safety of the inmates at Taconic. SUPT MITCHELL-VOID was at all relevant times

responsible for creating and enforcing policies and practices that ensure the safety of

the inmates at Taconic.

       474.   The superintendents were physically at their facilities.

       475.   The superintendents had operational control over their staff at their

facilities.

       476.   SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT

MITCHELL-VOYD failed to implement policies or procedures to protect inmates from

sexual abuse at their facilities.




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         477.   Despite repeated instances of officer sexual abuse of inmates at DOCCS

facilities, SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-

VOYD failed to enact or enforce policies to correct the pervasive custom of abuse at

Albion CF, Taconic, Lakeview and BHCF.

                   B. COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES,
                      SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD
                      were aware of the substantial risks of sexual abuse face by
                      female prisoners in DOCCS facilities.
         478.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD were aware that the risk

and numerous incidents of sexual abuse of female inmates at the hands of male prison

guards led the federal government, the District of Columbia, and all fifty states to

enact statutes criminalizing any sexual contact between prisoners and corrections

staff.

         479.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD were aware that in New

York the risk and numerous incidents of sexual abuse of female prisoners at the

hands of male guards led to the criminalization of any sexual contact between

prisoners and correctional staff in the enactment of N.Y. Penal Law § 130.05(3)(e),

which states that an inmate committed to the care and custody of DOCCS is incapable

of giving consent to sexual activity.

         480.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD were aware that the risk of

custodial sexual abuse led to the enactment of PREA in 2003.


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        481.   Upon information and belief, COMMR ANNUCCI, COMMR EFFMAN,

SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD

were aware of the general findings of a 2018 report by the DOJ’s Bureau of Justice

Statistics that since the implementation of the National Standards to Prevent, Detect,

and Respond to Prison Rape in 2012, allegations of staff-on-inmate sexual misconduct

in Corrections Departments nationwide increased 191%, and substantiated incidents

of staff-on-inmate sexual misconduct increased 48.5%.

        482.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD knew that custodial sexual

abuse continued to be a pervasive problem in DOCCS facilities between 2014 and

2019.

        483.   DOCCS reported in its December 2018 “Annual Report on Sexual

Victimization 2013-2016” (the “2018 DOCCS Report”) that OSI received 277

complaints of staff sexual abuse and harassment in 2013. It also received 394 such

complaints in 2014, 446 such complaints in 2015, and 341 such complaints in 2016.

        484.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD knew that although female

inmates made up less than five percent of the entire inmate population, they

disproportionally made up a larger share of complaints for sexual victimization.

        485.   The 2018 Report shows that complaints from inmates at female-only

facilities made up more than 17% percent of the total reports in 2014, more than 13%

in 2015 and more than 18% in 2016.



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      486.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD also knew that the average

rate of substantiated allegations per 1,000 inmates was more than 10 times higher

at female-only facilities than male-only facilities for 2014, 2015, and 2016.

      487.   Based on their experience working in correctional facilities, COMMR

ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK,

and SUPT MITCHELL-VOYD knew that the actual number of sexual assaults and

rapes in their facilities must have been much higher than the reported number.

      488.   For a number of reasons and from a variety of sources, COMMR

ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK,

and SUPT MITCHELL-VOYD were aware that assigning male staff to guard female

prisoners creates obvious risks of sexual abuse.

      489.   Upon information and belief, COMMR ANNUCCI, COMMR EFFMAN,

SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD

were aware that the risk and incidents of sexual abuse in a prison setting led to the

promulgation of international standards prohibiting the assignment of male

corrections staff to guard women prisoners. United Nations Standard Minimum

Rules for the Treatment of Prisoners, Rule 53, adopted Aug. 30, 1955.

      490.   Upon information and belief, COMMR ANNUCCI, COMMR EFFMAN,

SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD

were aware that the risk and incidents of sexual abuse in a prison setting, including

the particular risks facing women prisoners, led several states and local correctional



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institutions to require the presence of female staff to guard women prisoners, and

even to remove men from guarding women prisoners, at least in housing areas.

      491.   Upon information and belief, COMMR ANNUCCI, COMMR EFFMAN,

SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD

were aware that women prisoners were a particularly vulnerable population who

faced a heightened risk of sexual abuse by male officers. A larger number of

incarcerated women have histories of sexual and physical abuse than male prisoners

or women who have never been incarcerated. One study conducted in 1999 found that

70% of incarcerated females in the New York State Maximum security facilities had

been previously physically abused, and 60% had been previously sexually abused.

      492.   Upon information and belief, COMMR ANNUCCI, COMMR EFFMAN,

SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD

were aware that these abuse histories make women especially vulnerable to coercion

and manipulation. A 2013 report by the DOJ Bureau of Justice Statistics concluded

that inmates who experienced sexual victimization before coming to the facility were

more likely than inmates with no sexual victimization history to report incidents of

sexual victimization involving other inmates and staff.

      493.   The DOJ's Bureau of Justice Statistics periodically releases reports of

anonymous surveys on sexual victimization in prisons and jails. The last time that

women prisoners in New York were included in the survey, New York State prisoners

self-reported the highest rates of staff sexual abuse in the nation.




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      494.   COMMR ANNUCCI and COMMR EFFMAN have been party to a

number of injunctive and damages cases brought in both state and federal courts by

women prisoners who have been victims of staff sexual abuse. The cases include the

putative class action litigation Amador v. Andrews, Case No. 03 Civ. 0650 (S.D.N.Y.),

which was brought on behalf of 17 named plaintiffs in 2003, and Jones v. Annucci,

Case No. 16 Civ. 1473 (S.D.N.Y.), which was brought on behalf of seven named

plaintiffs in 2016.

      495.   Numerous instances of staff sexual misconduct at DOCCS facilities by

officers have resulted in criminal charges in the past six years. COMMR ANNUCCI,

COMMR EFFMAN, SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT

MITCHELL-VOYD were aware of at least the following instances that resulted in

criminal actions against DOCCS staff:

          a. In June of 2014, John M. Randolph, a correction officer at Albion CF was

             arrested and charged with third-degree rape of an inmate.

          b. In July of 2014, Kevin R. Fields, a correction officer at BHCF, was

             arrested and charged with third-degree rape of an inmate.

          c. In October of 2014, Richard Rodriguez, a correction officer at BHCF,

             pled guilty to third-degree rape.

          d. In December of 2014, Jose Guzman, a correction officer at BHCF, was

             arrested and charged with the rape of an inmate.

          e. In August of 2015, Ruben Garcia, a correction officer at BHCF, was

             arrested and charged with the rape of two inmates and later plead guilty.



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         f. On May 4, 2016, Daniel Oliver, a correction officer at Taconic was

             arrested and charged with official misconduct related to an unlawful

             relationship with two inmates.

         g. In October of 2016, Christopher Claud, a correction officer at Albion CF

             was arrested and charged with forcible touching.

         h. In November of 2017, Daijon Talford, a correction officer at Albion CF

             was arrested and charged with official misconduct related to an

             unlawful relationship with an inmate.

         i. In July of 2017, Ruben Illa, a correction officer at BHCF, was arrested

             and charged with filing a false report related to an improper relationship

             with an inmate.

         j. On August 15, 2017, Jeffrey Green, a correction officer at BHCF, was

             sentencing to nine months in prison for sexually assaulting an inmate.

         k. On May 4, 2018, Ira Colon, a correction officer at Taconic, was charged

             with raping an inmate.

         l. Also, on May 4, 2018, Garth Trail, a cook at Taconic, was charged with

             a criminal sexual act with an inmate.

      496.   Upon information and belief, COMMR ANNUCCI, COMMR EFFMAN,

SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD

knew that cases that result in criminal prosecutions or the discipline of staff do not

reflect the entire universe of staff misconduct, given that only reported incidents of

sexual misconduct, harassment, and abuse are investigated, and COMMR ANNUCCI,



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COMMR EFFMAN, SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT

MITCHELL-VOYD knew that staff sexual abuse is significantly underreported.

      497.   Victims of sexual abuse, generally, are unlikely to come forward with

complaints of sexual misconduct due to embarrassment and humiliation and a fear

that such complaints will be greeted with skepticism or disbelief.

      498.   These concerns are exacerbated in a correctional setting, where the

persons to whom such complaints are to be made are colleagues of the perpetrators

of the abuse, putting the victim at risk of retaliation; where complaints of such abuse

are not maintained in a confidential fashion; and where there is a well-founded belief

by women prisoners that such complaints will be greeted with skepticism and will

not result in any action against the perpetrator.

      499.   The failure of COMMR ANNUCCI, COMMR EFFMAN, SUPT

SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD to

implement and enforce policies and practices that would actually prevent and punish

all sexual abuse contributes to a lenient and permissive prison culture and increases

the risk of sexual abuse of women prisoners.

      500.   Some of the abuse that took place in DOCCS facilities was deemed by

staff to be “consensual.” In other words, the inmates were not necessarily subjected

to physically forcible abuse, but rather appeared to enter into sexual contact

voluntarily. However, any purportedly “consensual” sexual activity between

corrections staff and the prisoners they are paid to guard and control is a fallacy,

regardless of the “willingness” of the prisoner. Consent in such circumstances is non-



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existent under the law, as nearly every state legislature in the United States has

recognized. Purportedly “consensual” sexual activity between inmates and officers

does not resemble actual “consent” as it might exist outside of the prison context.

                  C. COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES,
                     SUPT KUBIK, SUPT MITCHELL-VOYD and SUPT KAPLAN
                     failed to enact supervisory policies that would prevent sexual
                     abuse by male staff and failed to enforce existing policies.
      501.   Despite known risks and frequent incidents of sexual misconduct by

staff, COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT KAPLAN,

SUPT KUBIK, and SUPT MITCHELL-VOYD, through their policies and practices

(or lack thereof) recklessly disregarded these risks and failed to protect the women

prisoners in their custody from harm. COMMR ANNUCCI, COMMR EFFMAN,

SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD

inadequately supervised corrections staff, placing women prisoners at a heightened

risk of sexual abuse.

      502.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD failed to enact appropriate

rules and policies concerning the behavior of male staff and failed to enforce existing

rules and policies governing staff behavior.

             i.      COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES,
                     SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD
                     permitted male correction officers to be alone with female inmates
                     for long periods of time, which created an unjustifiable and
                     unreasonable risk of harm to plaintiffs and predictably led to
                     sexual abuse.

      503.   Despite knowledge of the risk of sexual abuse in women's prisons,

COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT KAPLAN, SUPT

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KUBIK, and SUPT MITCHELL-VOYD permitted the assignment of male staff,

including CO BEAM, CO CASTONGUAY, CO MIDDLEBROOKS, CO NORDE, CO

SMITH, CO SMALLS, and CO STUPNICK to posts on which they had ample

opportunity for unmonitored contact with female inmates, including Plaintiffs.

      504.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD supervised male staff

guarding female inmates no differently from the way they would supervise same-

gender supervision of men.

      505.   Male    staff,   including   CO    BEAM,      CO   CASTONGUAY,         CO

MIDDLEBROOKS, CO NORDE, CO SMITH, CO SMALLS, and CO STUPNICK ,

were assigned, alone, to areas where no other staff are within range for visual contact.

This includes assignments that cover remote or isolated areas not monitored by video

surveillance and even overnight shifts in housing areas.

      506.   Allowing male staff long periods of unsupervised contact not only allows

ample time for sexual abuse of female inmates, but also fosters an environment where

male staff can develop personal relationships with female inmates to groom and

coerce them into sexual acts over time.

      507.   Upon information and belief, COMMR ANNUCCI, COMMR EFFMAN,

SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD

knew many incidents of sexual abuse that occurred at DOCCS facilities, including

the ones leading to the arrest and prosecution of staff members above, arose out of




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instances where a single male staff member is assigned to guard female inmates for

prolonged periods.

       508.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD knew that changing DOCCS

policy, or that of their individual facility, to prohibit a single male staff member from

watching female inmates for prolonged periods would immensely reduce the risk of

staff-on-inmate sexual abuse, but they chose not to implement that policy, formally

or in practice.

       509.   SUPT SQUIRES allowed CO STUPNICK to frequently be the only

officer assigned to JANE STONE #2’s dorm area, which gave CO STUPNICK the

freedom to cultivate an inappropriate relationship with JANE STONE #2 and

eventually repeatedly sexually abuse her.

       510.   Following the discovery of JANE STONE #2’s rape at Albion CF, SUPT

SQUIRES also permitted CO CASTONGUAY to be the sole staff member assigned to

JANE STONE #6’s dormitory area each night that CO CASTONGUAY raped JANE

STONE #6 in the laundry room of the unit. CO CASTONGUAY used the same

overnight shift and laundry room to rape JANE STONE #1.

       511.   SUPT SQUIRES also permitted CO SMITH and CO MIDDLEBROOKS

to supervise JANE STONE #6 for prolonged periods of time in her unit, giving them

the opportunity to rape her multiple times.

       512.   SUPT MITCHELL-VOYD allowed CO NORDE to often be assigned

alone with JANE STONE #3, first in the caustics department then in the 81 basement,



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which gave CO NORDE the opportunity to manipulate and coerce JANE STONE #3

over time and eventually rape her repeatedly.

        513.   SUPT KUBIK let CO BEAM work as the only correction officer for JANE

STONE #4 and Jane Sand, which allowed him to sexually abuse JANE STONE #4.

        514.   SUPT KAPLAN permitted CO SMALLS to be the sole correction officer

guarding female inmates, including JANE STONE #5, which allowed CO SMALLS

to coerce, manipulate, and eventually rape JANE STONE #5.

        515.   The rapes of JANE STONE #1, JANE STONE #2, JANE STONE #3,

JANE STONE #4, JANE STONE #5, JANE STONE #6, and many others would not

have occurred if COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD had implemented a policy to

prohibit a single male officer from guarding female inmates for prolonged periods of

time.

               ii.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES,
                     SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD
                     failed to enact or implement policies for staff to carry out
                     unannounced and random supervisory rounds, which created an
                     unjustifiable and unreasonable risk of harm to Plaintiffs and
                     predictably led to sexual abuse.

        516.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD not only permitted a single

male correction officer to be alone with female inmates for long periods of time but

failed to enact and enforce adequate rules and policies to ensure that unannounced,

random supervisory rounds were conducted, which would have mitigated the high

risk of sex abuse.


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      517.   Supervisory rounds consist of a supervisor checking in on various posts

throughout the facility to oversee correction officers and ensure there is no problem.

Random and unannounced supervisory rounds would deter correction officers from

forming inappropriate relationships with female inmates or sexually abusing them.

      518.   Although DOCCS ostensibly promulgates rules and regulations

requiring random and unannounced supervisory rounds, in practice, at BHCF, Albion

CF, Lakeview, and Taconic, supervisory rounds are not random, unannounced, or

carried out in any useful way.

      519.   Upon information and belief, supervisory rounds at these facilities

consisted of merely stopping by the assigned line officers’ desk or office, signing the

logbook and nothing more.

      520.   Upon information and belief, there was no requirement that supervisory

staff must see each officer on duty, check in verbally with each officer, ask the officers

any particular questions, speak with the prisoners on a housing unit or program

assignment or ask them if they have problems, or that they observe the entire area,

including the prisoners and the staff, for any misconduct, or make any notations on

what they observe.

      521.   Upon information and belief, COMMR ANNUCCI, COMMR EFFMAN,

SUPT SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD,

failed to require a set number and frequency of supervisory rounds by most

supervisory officers. Only rounds by the Superintendents and their executive teams

were required at a specific frequency, and that is only once a week, with no other



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written policies and procedures directing the frequency and regularity of rounds. In

practice, sergeants typically visit each post once or twice per shift.

      522.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD failed to require

unpredictable supervisory rounds. Facility supervisors routinely conducted rounds in

a predictable manner, failing to vary their time, frequency, and point of entry, leaving

staff able to predict periods of time, such as the time around shift change or after a

supervisor has passed through, when they can virtually be assured that they can

engage in misconduct with women prisoners without being discovered.

      523.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD knew that in many previous

sexual abuse cases of female DOCCS inmates, the lack of proper supervisory rounds

had facilitated the sexual abuse.

      524.   At Albion CF, staff members routinely radio ahead to let other staff

members know when supervisory rounds are coming. CO STUPNICK, CO

CASTONGUAY, and CO SMITH were informed by fellow staff members whenever a

supervisory round would be coming to their post.

      525.   SUPT SQUIRES failed to create or enforce policies that led to

supervisory rounds being conducted without notification to officers.

      526.   For years, CO STUPNICK acted with impunity while grooming, coercing,

manipulating, abusing, and raping JANE STONE #2, knowing that he would never




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be caught in the act, since he would be notified when other staff members were

approaching.

      527.    Following CO STUPNICK’s arrest, no changes were made to the practice

of announcing supervisory rounds to other officers. Upon information and belief, no

officers were disciplined for calling ahead to CO STUPNICK to announce rounds.

      528.    A short time later, with the same system remaining in place, CO

CASTONGUAY similarly acted without fear of being caught in the act because he

knew he would be told if supervisory rounds were coming. CO CASTONGUAY raped

JANE STONE #6 and JANE STONE #1 multiple times without fear that another

officer would come in during the abuse because it was custom at Albion CF to call

ahead.

      529.    At the same time, while the practice was still in place, CO SMITH was

able to sexually assault JANE STONE #6 multiple times in her unit, and even order

her to have sex with another inmate in front of him because this warning system

prevented him from getting caught.

      530.    Similarly, CO MIDDLEBROOKS was able to sexually abuse JANE

STONE #6 multiple times in her unit and in the employee break room because he

was always warned before supervisory rounds occurred.

      531.    At Lakeview, it was also common for officers to call ahead to give

advance notice of supervisory rounds, which would happen once per shift. This

practice allowed CO BEAM to sexually assault JANE STONE #4 without fear of being

caught in the act.



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      532.   At Taconic, supervisory rounds were conducted infrequently in the

caustics department and 81 basement. When supervisory rounds were performed, CO

NORDE was called ahead of time to alert him that supervisory rounds were being

conducted. Supervisors conducting rounds would simply sign the logbook and not

interact with or observe staff or inmates.

      533.   On one occasion when CO NORDE was alone with JANE STONE #3 in

caustics, CO NORDE received a call that the PREA coordinator was conducting

rounds. CO NORDE sent JANE STONE #3 back to her unit before the PREA

coordinator arrived.

      534.   At BHCF, correction officers routinely and predictably radioed each

other to warn the unit officers that a supervisor was coming. CO SMALLS was not

worried that a supervisor would catch him with JANE STONE #5 in the utility closet

because of the custom to call ahead and warn officers that a supervisor was coming.

             iii.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES,
                    SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD
                    failed to install or cause the monitoring of existing cameras to
                    prevent sexual abuse and grooming of inmates for sexual abuse.

      535.   To the extent COMMR ANNUCCI, COMMR EFFMAN, SUPT

SQUIRES, SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD installed

or required installation of surveillance cameras, use of those cameras for supervision

was, at all relevant times, grossly inadequate to protect women prisoners.

      536.   Upon information and belief, surveillance cameras were not installed

throughout Albion CF, Taconic, Lakeview, and BHCF. Many enclosed and isolated

areas inside the prison or isolated areas outside the prison, where sexual abuse is


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more likely to occur, or has been reported to have occurred, are completely outside of

any video or audio surveillance. These areas included storage closets, laundry rooms,

slop sink areas, sheds, outside work areas, and basements.

      537.   Where video cameras did exist, they were not adequately monitored, if

at all. Upon information and belief, no staff member at Albion CF, BHCF, Lakeview

or Taconic was assigned to view the cameras in real time, or soon thereafter.

      538.   Upon information and belief, video camera footage was reviewed only

after an incident had been reported to see if corroboration existed.

      539.   Video camera footage was not monitored to detect or deter the formation

of improper relationships by officers with inmates.

      540.   At Albion CF, cameras were either not set up or were not monitored to

prevent the numerous long personal conversations held between CO STUPNICK and

JANE STONE #2, which led to the rape and sexual abuse.

      541.   Also at Albion CF, cameras were either not set up or were not monitored

to prevent CO CASTONGUAY from entering the inmate shower room or into the

laundry room to rape JANE STONE #1 and JANE STONE #6.

      542.   CO CASTONGUAY took JANE STONE #1 and JANE STONE #6 into

the laundry room to rape them there because it was widely known within the facility

to be an area that was not monitored by cameras.

      543.   Another area with known blind spots at Albion CF was the employee

break room, where CO MIDDLEBROOKS repeatedly made sexual advances on JANE

STONE #6.



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      544.    COMMR ANNUCCI, COMMR EFFMAN, and SUPT SQUIRES knew

that, in 2015, a correction officer had raped a female inmate in a laundry room

because it was known that laundry rooms were not equipped with surveillance

cameras. See Crandell v. Ross, 17-cv-0755 (BKS/CFH) (W.D.N.Y.), ECF No. 23 at ¶¶

18. They took no steps to install cameras in laundry rooms at Albion CF.

      545.    At Lakeview, cameras were not placed or monitored around or inside the

Bubble to prevent CO BEAM from bringing JANE STONE #4 into the Bubble and

raping her. Cameras were also not placed or monitored to observe CO BEAM

speaking to JANE STONE #4 one-on-one for lengthy periods of time.

      546.    At Taconic, cameras were not installed in the caustics department. Upon

information and belief, cameras could have been installed to capture the caustics

department.

      547.    Also, at Taconic, while a camera was installed in the 81 basement, it

was completely unmonitored. This allowed CO NORDE to bring JANE STONE #3

into the staff bathroom to rape her multiple times without fear of being caught.

      548.    At BHCF, cameras were either not set up to capture CO SMALLS and

JANE STONE #5 repeatedly entering the utility closet together, or not monitored.

This lack of camera placement or monitoring allowed CO SMALLS to repeatedly rape

JANE STONE #5 inside this room without fear of being seen and stopped.




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             iv.    COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES,
                    SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD
                    allowed correction officers to choose (“bid for”) their own
                    assignments, which created an unjustifiable and unreasonable
                    risk of harm to Plaintiffs and predictably led to sexual abuse.

      549.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD permitted correction officers

to change “bids” through any agreement amongst the officers themselves, without

regard to the number or severity of allegations of sexual misconduct that had been

made by women prisoners about them, which contributed to the enormous risk of

sexual abuse.

      550.   Officers only had to agree amongst themselves when to swap shifts or

assignments.

      551.   Upon information and belief, there was no policy created or enforced to

monitor the number of “bids” officers swapped with one another or to track if an

officer frequently swapped for the same bid at a given time.

      552.      At Albion CF, CO CASTONGUAY, CO MIDDLEBROOKS, and CO

STUPNICK swapped their bids multiple times to work in the units of JANE STONE

#2, JANE STONE #1, and JANE STONE #6 or to work the overnight shifts, when

they knew it would be easier to rape the women.

      553.   At Taconic, after JANE STONE #3’s work assignment was transferred

to caustics department and then the 81 basement, CO NORDE was permitted to swap

his bid to work there despite the fact that he was changing his bid just weeks after

the inmate he supervised one-on-one transferred to a new assignment, and that he

was requesting to be in a one-on-one assignment with her again. This created the
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environment where CO NORDE was alone with JANE STONE #3 and could bring

her into the staff bathroom where he raped her.

      554.   At Lakeview, CO BEAM swapped bids to be assigned to JANE STONE

#4’s dorm. CO BEAM’s assignment to that dorm allowed him to frequently be the sole

officer assigned to JANE STONE #4, allowing him access to prey upon her.

             v.     COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES,
                    SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD
                    created a culture and custom at DOCCS facilities where warning
                    signs of sexual abuse were ignored and inappropriate staff-
                    inmate relationships were permitted.

      555.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD failed to enact adequate

rules and policies to monitor and discipline staff engaged in behavior that constituted

warning signs of sexual abuse, such as spending a disproportionate amount of time

talking to a particular prisoner, repeatedly requesting a particular prisoner for a

particular assignment, discussing personal life with a prisoner, or asking a prisoner

a personal question. Staff were not disciplined or informally counselled when

supervisors witnessed behavior that was indicative of warning signs of sexual abuse.

      556.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD additionally created a

culture and custom of ignoring staff-inmate relationships by failing to investigate or

discipline officers who knew of improper relationships between correction officers and

inmates.

      557.   Despite publicly promulgating policies against such relationships and

behavior, the utter lack of enforcement of these policies made clear to DOCCS staff
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that they were under no real duty to report warning signs of abuse or inappropriate

staff-inmate relationships.

      558.   Upon information and belief, supervision did not include observation

and counseling or discipline for officers engaged in behavior evincing warning signs

of sexual abuse, including engaging in personal conversations with inmates, sharing

personal items with inmates, or repeatedly requesting a particular inmate for special

assignments in secluded locations.

      559.   It was widely known to DOCCS correction officers and staff that they

would not get in trouble for failing to report inappropriate staff-inmate relationships.

A culture of silence on the issue was encouraged.

      560.   In the criminal cases listed above in ¶ 495 and the many other

unprosecuted cases in that period, other officers at the facilities knew about ongoing

relationships between the inmate-victim and staff-abuser and did not report them.

      561.   Upon information and belief, not a single staff member has been

disciplined, punished, or terminated from employment based solely on a failure to

report an inappropriate relationship.

      562.    Similarly, CO SMALLS’s relationship with JANE STONE #5 was

widely known throughout the facility by correction officers and inmates. No DOCCS

staff were disciplined, reprimanded, or terminated for knowing about and failing to

report the relationship.

      563.   At Albion CF, CO CASTONGUAY, CO MIDDLEBROOKS, and CO

SMITH frequently shifted their bids to work the overnight shifts, when they knew it



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would be easier to sexually assault JANE STONE #6 and JANE STONE #1 without

being caught.

      564.   Also at Albion CF, CO STUPNICK publicly groomed JANE STONE #2

for months and had long conversations with her at the officer’s desk. No correction

officers ever reported the relationship, and it was eventually reported by a fellow

inmate.

      565.   At Lakeview, upon information and belief, several DOCCS staff

members knew that CO BEAM spent inordinate amounts of time having personal

conversations with JANE STONE #4 over a period of months. CO VASQUEZ

overheard a particularly personal and inappropriate conversation.

      566.   None of the staff at Lakeview acted to protect JANE STONE #4 from

CO BEAM because they knew that DOCCS staff are expected to cover up for each

other and not “rat” on fellow staff.

      567.   Staff at Lakeview, including CO VASQUEZ, believed their silence and

failure to protect JANE STONE #4 would have no negative impact on their career.

      568.   CO BEAM frequently entered Lakeview intoxicated or high on drugs.

      569.   The culture of silence at Lakeview prevented any DOCCS staff from

reporting CO BEAM for reporting to duty in this condition.

      570.   No staff took action to prevent CO BEAM from coming to work

intoxicated or high on drugs.

      571.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD have failed to take sufficient



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action when officers leave their assigned posts, allow inmates into areas where

inmates are not permitted, ask women to volunteer or work jobs to which they have

not been formally assigned, and engage in open and obvious behavior that is

suggestive of inappropriate relationships.

      572.   At Taconic, staff members learned of CO NORDE’s ongoing improper

relationship with JANE STONE #3 and did not report it because it was the culture

and custom to not report such conduct.

      573.   Upon information and belief, DOCCS staff at Taconic also knew about

an inappropriate personal relationship between CO NORDE and another inmate

prior to the last instance of abuse of JANE STONE #3. No DOCCS staff member

reported the inappropriate relationship with the other inmate.

      574.   CO BEAM frequently left his assigned work area to spend time with

JANE STONE #4 in her dorm. Upon information and belief, DOCCS staff knew that

CO BEAM was leaving his assigned work area for the purpose of spending time with

JANE STONE #4.

      575.   CO BEAM was never reported, disciplined, or reprimanded since his

conduct was permissible under the custom and policies of Lakeview.

             vi.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES,
                   SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD
                   failed to create or enforce policies to remove correction officers
                   who had developed inappropriate relationships with female
                   inmates from having contact with those inmates.

      576.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD failed to enact or enforce



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polices to remove correction officers from female inmates in situations where it was

discovered that an inappropriate relationship was formed.

      577.   Even in cases where an inappropriate relationship was discovered by

investigators, DOCCS often allowed staff to continue to work closely with the same

inmates with whom they had developed an inappropriate relationship.

      578.   Staff who were the subject of credible or repeated allegations of sexual

abuse were allowed to continue their usual posts and permitted to access private,

unmonitored areas. They were even permitted to continue to guard or to have contact

or proximity with the prisoner who had complained about the officer.

      579.   DOCCS’s repeated failure to remove officers from inmates they were

alleged to have abused emboldened other staff members to conduct similar behavior,

and discouraged other staff from making complaints about misbehavior. Allowing

these officers to remain in their posts with the same privileges, at times monitoring

their alleged victims, conveyed to DOCCS staff that any written policies to the

contrary would not be enforced unless overwhelming corroboration existed.

             vii.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES,
                    SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD
                    created a culture of intimidation and fear at DOCCS facilities
                    where inmates lacked confidentiality in reporting incidents of
                    sexual abuse, feared retaliation, and did not think they would be
                    believed.

      580.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD created a culture of

intimidation when they failed to provide inmates with a confidential way of reporting

incidents of sexual abuse.


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      581.      Inmates were aware that reporting what had happened to them could

result in retaliation by DOCCS staff and other inmates at their facility, compounding

the abuse they had already suffered as a result of policies more likely to perpetuate

sexual abuse than prevent it.

      582.      A survey of inmates related to a 2018 PREA audit of BHCF found that

most inmates did not believe that a complaint of sexual abuse would remain

confidential.

      583.      Sexual abuse complaints at DOCCS facilities were not treated as

confidential.

      584.      Correction officers frequently exchanged and spread information about

sexual abuse of inmates.

      585.      No policy was enforced to deter correction officers from spreading

supposedly confidential information.

      586.      Inmates knew that their complaints would not be kept confidential, and

that they would be risking retaliation.

      587.      Inmates also knew that they were likely to be disbelieved or discredited

if they reported sexual abuse by staff.

      588.      COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD, by failing to enact or enforce

sufficient policies, created a culture in which female inmates’ initial complaints were

discouraged and disbelieved.




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      589.   Inmates were made more vulnerable to coercion and manipulation by a

correction officer since they knew that a complaint about inappropriate behavior

would be discouraged and disbelieved.

      590.   At Albion CF, JANE STONE #1 immediately attempted to report that

she was raped, but no one on the hotline answered until after 8:00 a.m. Once DOCCS

staff became aware of the rape, they initially tried to question JANE STONE #1 about

it publicly. JANE STONE #1, who was unable to trust DOCCS staff at Albion CF,

refused to turn over the corroborating physical evidence she had until OSI arrived.

      591.   JANE STONE #1 believed that if she gave the physical evidence to

DOCCS staff that it would be “lost” or “destroyed.” After reporting the incident, JANE

STONE #1 was not transferred to an outside hospital for a rape kit until after 2:00

p.m., and when she returned, all of the inmates in her unit knew about the rape.

DOCCS staff also approached JANE STONE #1 and called her a “liar.”

      592.   JANE STONE #6 overheard corrections staff calling JANE STONE #1

a liar and was told by several inmates that JANE STONE #1 had been sent to SHU

for filing her PREA complaint. Afraid that she would also be called a liar and sent to

solitary confinement, JANE STONE #6 did not report the multiple assaults CO

CASTONGUAY, CO MIDDLEBROOKS , and CO SMITH perpetrated against her.

      593.   Concerned that DOCCS would lose the physical evidence of her assault,

JANE STONE #6 gave the t-shirt containing CO CASTONGUAY’s ejaculate to a

friend outside of the DOCCS system.




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       594.   At Taconic, the same culture prevented JANE STONE #3 from filing a

PREA complaint earlier. JANE STONE #3 feared that her complaint would not be

anonymous, and that she would lose privileges, possibly even the right to make phone

calls to her children.

       595.   JANE STONE #3 had witnessed other inmates lose privileges for

asserting their own rights against officers, where officers lied and covered up for other

officers.

       596.   At Taconic, inmates in JANE STONE #3’s unit made complaints against

a correction officer who was instructing inmates to wear their hair up. The correction

officer claimed that inmates’ wearing their hair down risked sexually arousing the

correction officers, which could cause them to act inappropriately. The inmates made

the complaint to SUPT MITCHELL-VOYD assuming their confidentiality would be

protected. Instead, the names of the complaining inmates were given to the officer

who was the subject of the complaint, and he retaliated against the complaining

inmates.

       597.   This and other experiences made clear to JANE STONE #3 that

complaints would not be kept confidential, and that it was, in fact, the custom and

policy to blame female inmates in cases where correction officers became sexually

aroused and acted inappropriately. As a result, JANE STONE #3 was afraid to report

her abuse because she knew that she would be blamed, and that her complaint would

not be kept confidential.




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             viii.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES,
                     SUPT KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD
                     failed to implement policies to prohibit DOCCS staff from
                     entering DOCCS facilities with contraband that aided their
                     coercion and abuse of female inmates.

      598.   COMMR ANNUCCI, COMMR EFFMAN, SUPT SQUIRES, SUPT

KAPLAN, SUPT KUBIK, and SUPT MITCHELL-VOYD failed to require and conduct

reasonable searches of corrections staff upon entry to correctional facilities that could

help prevent or discourage sexual abuse or ultimately assist in the investigation of

allegations of staff sexual misconduct. The failure to catch corrections staff with

contraband such as drugs and alcohol, or to limit entry of condoms, cell phones, notes,

and other personal items allows officers the opportunity to use these items to

influence, coerce, or otherwise manipulate prisoners into performing sexual acts and

limits the evidence that could be used in investigations of staff sexual misconduct.

      599.   For example, at Lakeview, CO BEAM was permitted to bring

contraband shampoo and lotions into the facility for Jane Sand and JANE STONE

#4. CO BEAM used these items in his coercive plot to sexual abuse JANE STONE #4.

      600.   SUPT SQUIRES had not established or enforced a policy of searching

incoming staff members to detect, confiscate, and intercept contraband.

      601.   For example, at Albion CF, CO MIDDLEBROOKS frequently snuck in

alcohol and distributed it to JANE STONE #6 and her friends.

      602.   Also at Albion CF, CO STUPNICK gave JANE STONE #2 a necklace

from Kay Jewelers.


                             FIRST CAUSE OF ACTION


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                    CRUEL AND UNUSUAL PUNISHMENT
             VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                (BY JANE STONE #1 Against CO CASTONGUAY)

      603.   Paragraphs 1–602 are hereby incorporated and realleged.

      604.   By forcibly putting his genitals in JANE STONE #1’s mouth before

ordering her to the laundry room and forcefully raping her vaginally and anally, CO

CASTONGUAY acted willfully and wantonly for his own sexual gratification.

      605.   There was no penological justification for CO CASTONGUAY’s conduct.

      606.   CO CASTONGUAY’s conduct was unreasonable and in violation of

JANE STONE #1’s clearly established constitutional right to be free from cruel and

unusual punishment.

      607.   CO    CASTONGUAY’s        conduct   constituted     cruel   and   unusual

punishment under the Eighth Amendment of the U.S. Constitution.

      608.   JANE STONE #1 suffered physical, emotional, and psychological pain

and other damages as a result of the constitutional violation.


                           SECOND CAUSE OF ACTION
                          RAPE IN THE FIRST DEGREE
                     VIOLATION OF N.Y. PENAL LAW § 130.35
                  (By JANE STONE #1 Against CO CASTONGUAY)

      609.   Paragraphs 1–608 are hereby incorporated and realleged.

      610.   On May 12, 2019, CO CASTONGUAY orally, vaginally, and anally

raped JANE STONE #1 by forcible compulsion.

      611.   There was no penological justification for CO CASTONGUAY’s conduct.

      612.   JANE STONE #1 could not and did not consent to this conduct.



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      613.   Such touching violated N.Y. Penal Law § 130.35.

      614.   JANE STONE #1 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                            THIRD CAUSE OF ACTION
                    SEXUAL ABUSE IN THE FIRST DEGREE
                    VIOLATION OF N.Y. PENAL LAW § 130.55
                 (By JANE STONE #1 Against CO CASTONGUAY)

      615.   Paragraphs 1–614 are hereby incorporated and realleged.

      616.   On May 12, 2019 CO CASTONGUAY subjected JANE STONE #1 to

sexual assault by entering her cube and forcefully putting his penis in her mouth.

      617.   CO CASTONGUAY ordered JANE STONE #1 to the laundry room and

orally, vaginally, and anally penetrated her for the purpose of gratifying his own

sexual desire.

      618.   CO CASTONGUAY touched JANE STONE #1’s genitals through the

use of physical force.

      619.   Such touching violated N.Y. Penal Law § 130.55.

      620.   JANE STONE #1 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                           FOURTH CAUSE OF ACTION
                       NEW YORK COMMON LAW BATTERY
                  (By JANE STONE #1 Against CO CASTONGUAY)

      621.   Paragraphs 1–620 are hereby incorporated and realleged.




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      622.   The May 12, 2019 sexual assault by CO CASTONGUAY on JANE

STONE #1 constituted a battery upon JANE STONE #1 in that the above-described

bodily contact was intentional, unauthorized, and grossly offensive in nature.

      623.   JANE STONE #1 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                             FIFTH CAUSE OF ACTION
                    CRUEL AND UNUSUAL PUNISHMENT
             VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                (By JANE STONE #6 Against CO CASTONGUAY)
      624.   Paragraphs 1–623 are hereby incorporated and realleged.

      625.   By repeatedly ordering that JANE STONE #6 put his genitals in her

mouth before vaginally raping her, CO CASTONGUAY acted willfully and wantonly

for his own sexual gratification.

      626.   There was no penological justification for CO CASTONGUAY’s conduct.

      627.   CO CASTONGUAY’s conduct was unreasonable and in violation of

JANE STONE #6’s clearly established constitutional right to be free from cruel and

unusual punishment.

      628.   CO    CASTONGUAY’s        conduct     constituted   cruel   and   unusual

punishment under the Eighth Amendment of the U.S. Constitution.

      629.   JANE STONE #6 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                             SIXTH CAUSE OF ACTION
                          RAPE IN THE FIRST DEGREE
                     VIOLATION OF N.Y. PENAL LAW § 130.35
                  (By JANE STONE #6 Against CO CASTONGUAY)
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      630.   Paragraphs 1–629 are hereby incorporated and realleged.

      631.   On April 4, April 5, and April 25, 2019, CO CASTONGUAY orally and

vaginally raped JANE STONE #6 by forcible compulsion.

      632.   JANE STONE #6 could not and did not consent to such action.

      633.   There was no penological justification for CO CASTONGUAY’s conduct.

      634.   Such touching violated N.Y. Penal Law § 130.35.

      635.   JANE STONE #6 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                          SEVENTH CAUSE OF ACTION
                    SEXUAL ABUSE IN THE FIRST DEGREE
                    VIOLATION OF N.Y. PENAL LAW § 130.55
                 (By JANE STONE #1 Against CO CASTONGUAY)

      636.   Paragraphs 1–635 are hereby incorporated and realleged.

      637.   On April 4, April 5, and April 25, 2019, CO CASTONGUAY ordered

JANE STONE #6 to have oral and vaginal intercourse.

      638.   On April 9, 2019, CO CASTONGUAY sexually assaulted JANE STONE

#6 by forcibly putting his penis in her mouth.

      639.   CO CASTONGUAY ordered JANE STONE #6 to engage in these sexual

acts for the purpose of gratifying his own sexual desire.

      640.   Such touching violated N.Y. Penal Law § 130.55.

      641.   JANE STONE #6 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.




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                           EIGHTH CAUSE OF ACTION
                      NEW YORK COMMON LAW BATTERY
                 (By JANE STONE #6 Against CO CASTONGUAY)

      642.   Paragraphs 1–641 are hereby incorporated and realleged.

      643.   The repeated sexual assaults by CO CASTONGUY on JANE STONE #6

constituted a battery upon JANE STONE #6 in that the above-described bodily

contact was intentional, unauthorized, and grossly offensive in nature.

      644.   JANE STONE #6 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.




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                            NINTH CAUSE OF ACTION
                     CRUEL AND UNUSUAL PUNISHMENT
             VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                (By JANE STONE #6 Against CO MIDDLEBROOKS)

      645.   Paragraphs 1–644 are hereby incorporated and realleged.

      646.   By following JANE STONE #6 into the shower and repeatedly ordering

her to touch his genitals over clothing, as well as entering her cube multiple times to

touch and suck on her breasts, CO MIDDLEBROOKS acted willfully and wantonly

for his own sexual gratification.

      647.   There was no penological justification for CO MIDDLEBROOKS’s

conduct.

      648.   CO MIDDLEBROOKS’s conduct was unreasonable and in violation of

JANE STONE #6’s clearly established constitutional right to be free from cruel and

unusual punishment.

      649.   CO MIDDLEBROOKS’s conduct constituted cruel and unusual

punishment under the Eighth Amendment of the U.S. Constitution.

      650.   JANE STONE #6 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                            TENTH CAUSE OF ACTION
                    SEXUAL ABUSE IN THE FIRST DEGREE
                   VIOLATION OF N.Y. PENAL LAW § 130.55
               (By JANE STONE #6 Against CO MIDDLEBROOKS)

      651.   Paragraphs 1–650 are hereby incorporated and realleged.




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      652.   From February 2019 until September 2019, CO MIDDLEBROOKS

sexually assaulted JANE STONE #6 on numerous occasions by repeatedly and

forcibly grabbing JANE STONE #6’s breasts with his hands and sucking on them.

      653.   Such touching violated N.Y. Penal Law § 130.55.

      654.   JANE STONE #6 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                         ELEVENTH CAUSE OF ACTION
                     NEW YORK COMMON LAW BATTERY
               (By JANE STONE #6 Against CO MIDDLEBROOKS)

      655.   Paragraphs 1–654 are hereby incorporated and realleged.

      656.   The repeated sexual assaults by CO MIDDLEBROOKS on JANE

STONE #6 constituted a battery upon JANE STONE #6 in that the above-described

bodily contact was intentional, unauthorized, and grossly offensive in nature.

      657.   JANE STONE #6 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                          TWELFTH CAUSE OF ACTION
                    CRUEL AND UNUSUAL PUNISHMENT
             VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                   (By JANE STONE #6 Against CO SMITH)

      658.   Paragraphs 1–657 are hereby incorporated and realleged.

      659.   By ordering JANE STONE #6 to have sex with another female inmate

in front of him, and by touching JANE STONE #6’s buttocks, CO SMITH acted

willfully and wantonly for his own sexual gratification.

      660.   There was no penological justification for CO SMITH’s conduct.

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      661.    CO SMITHs conduct was unreasonable and in violation of JANE

STONE #6’s clearly established constitutional right to be free from cruel and unusual

punishment.

      662.    CO SMITH’s conduct constituted cruel and unusual punishment under

the Eighth Amendment of the U.S. Constitution.

      663.    JANE STONE #6 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                        THIRTEENTH CAUSE OF ACTION
                   SEXUAL ABUSE IN THE SECOND DEGREE
                    VIOLATION OF N.Y. PENAL LAW § 130.60
                     (By JANE STONE #6 Against CO SMITH)

      664.    Paragraphs 1–663 are hereby incorporated and realleged.

      665.    CO SMITH’s conduct described above subjected JANE STONE #6 to

sexual contact when JANE STONE #6 was incapable of consent.

      666.    Such touching violated N.Y. Penal Law §§ 130.40 and 130.55.

      667.    JANE STONE #6 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                       FOURTEENTH CAUSE OF ACTION
                      NEW YORK COMMON LAW BATTERY
                     (By JANE STONE #6 Against CO SMITH)

      668.    Paragraphs 1–667 are hereby incorporated and realleged.

      669.    The repeated contact caused by CO SMITH on JANE STONE #6

constituted a battery upon JANE STONE #6 in that the above-described bodily

contact was intentional, unauthorized, and grossly offensive in nature.

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      670.    JANE STONE #6 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                         FIFTEENTH CAUSE OF ACTION
                    CRUEL AND UNUSUAL PUNISHMENT
             VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                  (By JANE STONE #2 Against CO STUPNICK)

      671.    Paragraphs 1–670 are hereby incorporated and realleged.

      672.    By repeatedly kissing, fondling, and digitally penetrating JANE STONE

#2’s genitals, and by putting his genitals in JANE STONE #2’s mouth, CO

STUPNICK acted willfully and wantonly for his own sexual gratification.

      673.    There was no penological justification for CO STUPNICK’s conduct.

      674.    CO STUPNICK’s conduct was unreasonable and in violation of JANE

STONE #2’s clearly established constitutional right to be free from cruel and unusual

punishment.

      675.    CO STUPNICK’s conduct constituted cruel and unusual punishment

under the Eighth Amendment of the U.S. Constitution.

      676.    JANE STONE #2 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                         SIXTEENTH CAUSE OF ACTION
                         RAPE IN THE THIRD DEGREE
                    VIOLATION OF N.Y. PENAL LAW § 130.25
                   (By JANE STONE #2 Against CO STUPNICK)

      677.    Paragraphs 1–676 are hereby incorporated and realleged.




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      678.   From December 2017 to February 2019, CO STUPNICK repeatedly

raped JANE STONE #2 by kissing her, digitally and orally penetrating her genitals,

and having her perform oral sex on him when she was incapable of consent.

      679.   CO STUPNICK rubbed and penetrated JANE STONE #2’s genitals and

put his genitals in JANE STONE #2’s mouth for the purpose of gratifying his own

sexual desire.

      680.   Such touching violated N.Y. Penal Law §§ 130.25, 130.40 and 130.55.

      681.   JANE STONE #2 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                       SEVENTEENTH CAUSE OF ACTION
                   SEXUAL ABUSE IN THE SECOND DEGREE
                    VIOLATION OF N.Y. PENAL LAW § 130.60
                   (By JANE STONE #2 Against CO STUPNICK)

      682.   Paragraphs 1–681 are hereby incorporated and realleged.

      683.   From December 2017 to February 2019, CO STUPNICK repeatedly

raped JANE STONE #2 by kissing her, digitally and orally penetrating her genitals,

and by having her perform oral sex on him when she was incapable of consent.

      684.   CO STUPNICK rubbed and penetrated JANE STONE #2’s genitals and

put his genitals in JANE STONE #2’s mouth for the purpose of gratifying his own

sexual desire.

      685.   Such touching violated N.Y. Penal Law §§ 130.40 and 130.60.

      686.   JANE STONE #2 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


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                        EIGHTEENTH CAUSE OF ACTION
                      NEW YORK COMMON LAW BATTERY
                   (By JANE STONE #2 Against CO STUPNICK)

      687.   Paragraphs 1–686 are hereby incorporated and realleged.

      688.   The numerous sexual assaults by CO STUPNICK of JANE STONE #2

constituted a battery upon JANE STONE #2 in that the above-described bodily

contact was intentional, unauthorized, and grossly offensive in nature.

      689.   JANE STONE #2 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                        NINTEENTH CAUSE OF ACTION
                     DELIBERATE INDIFFERENCE
           VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
        (By JANE STONE #2 Against INV HANZLIAN and INV CASTRO)

      690.   Paragraphs 1–689 are hereby incorporated and realleged.

      691.   INV HANZLIAN and INV CASTRO were both personally aware of the

imminent risk to JANE STONE #2 posed by CO STUPNICK.

      692.   INV HANZLIAN and INV CASTRO failed to take any steps to protect

JANE STONE #2 from CO STUPNICK.

      693.   As a result of INV HANZLIAN and INV CASTRO’s failure to act, CO

STUPNICK subjected JANE STONE #2 to illegal sexual activity on numerous

occasions after INV HANZLIAN and INV CASTRO learned of the risk to JANE

STONE #2 that CO STUPNICK posed.

      694.   JANE STONE #2 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


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                           TWENTIETH CAUSE OF ACTION
                     CRUEL AND UNUSUAL PUNISHMENT
              VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                    (By JANE STONE #3 Against CO NORDE)

       695.      Paragraphs 1–694 are hereby incorporated and realleged.

       696.      In orally and vaginally raping JANE STONE #3 numerous times and

infecting her with herpes, CO NORDE acted willfully and wantonly for his own sexual

gratification.

       697.      There was no penological justification for CO NORDE’s conduct.

       698.      CO NORDE’s conduct was unreasonable and in violation of JANE

STONE #3’s clearly established constitutional right to be free from cruel and unusual

punishment.

       699.      CO NORDE’s conduct constituted cruel and unusual punishment under

the Eighth Amendment of the U.S. Constitution.

       700.      JANE STONE #3 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                          TWENTY-FIRST CAUSE OF ACTION
                          FAILURE TO PROTECT
             VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
           (By JANE STONE #3 Against CO LOVELACE and CO LOPEZ)

       701.      Paragraphs 1–700 are hereby incorporated and realleged.

       702.      In the summer of 2018, CO LOPEZ became aware of the relationship

between CO NORDE and JANE STONE #3 after hearing that CO NORDE gave

JANE STONE #3 a razor.



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       703.     CO LOPEZ said to JANE STONE #3 that she was not going to report

the relationship, but that JANE STONE #3 should “keep her mouth shut.”

       704.     Similarly, in the fall of 2018, CO LOVELACE became aware of the

inappropriate relationship between CO NORDE and JANE STONE #3 when she

noticed that JANE STONE #3 took longer than necessary to return from running an

errand and discovered that CO NORDE was working the unit JANE STONE #3 had

just returned from.

       705.     CO LOVELACE told JANE STONE #3, “Now I know why you wanted to

go to caustics.”

       706.     Neither CO LOPEZ or CO LOVELACE ever reported their suspicions to

a PREA officer or to any supervising officer.

       707.     CO LOPEZ and CO LOVELACE made no attempts to interfere in the

relationship.

       708.     CO LOPEZ and CO LOVELACE failed to protect JANE STONE #3 from

the imminent risk of sexual abuse by CO NORDE.

       709.     JANE STONE #3 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                       TWENTY-SECOND CAUSE OF ACTION
                     CRUEL AND UNUSUAL PUNISHMENT
              VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                     (By JANE STONE #4 Against CO BEAM)

       710.     Paragraphs 1–709 are hereby incorporated and realleged.




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       711.      In ordering JANE STONE #4 to have sex with him and having sex with

her in July 2017, CO BEAM acted willfully and wantonly for his own sexual

gratification.

       712.      There was no penological justification for CO BEAM’s conduct.

       713.      CO BEAM’s conduct was unreasonable and in violation of JANE STONE

#4’s clearly established constitutional right to be free from cruel and unusual

punishment.

       714.      CO BEAM’s conduct constituted cruel and unusual punishment under

the Eighth Amendment of the U.S. Constitution.

       715.      JANE STONE #4 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                          TWENTY-THIRD CAUSE OF ACTION
                         FAILURE TO PROTECT
           VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
         (By JANE STONE #4 Against CO ANTOLINI and CO VASQUEZ)

       716.      Paragraphs 1–715 are hereby incorporated and realleged.

       717.      As early as July 2017, CO ANTOLINI was aware of the inappropriate

relationship between JANE STONE #4 and CO BEAM.

       718.      CO VASQUEZ knew about the improper relationship between CO

BEAM and JANE STONE #4 and did not report it or otherwise try to protect her.

       719.      CO ANTOLINI and CO VASQUEZ were aware that CO BEAM had

frequent access to Plaintiff and supervisory control over her due to his position as a




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correction officer and community meeting leader. CO ANTOLINI failed to protect

JANE STONE #4 from the imminent risk of sexual abuse by CO BEAM.

      720.   JANE STONE #4 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.




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                     TWENTY-FOURTH CAUSE OF ACTION
                    CRUEL AND UNUSUAL PUNISHMENT
             VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                   (By JANE STONE #5 Against CO SMALLS)

      721.    Paragraphs 1–720 are hereby incorporated and realleged.

      722.    By orally and vaginally raping JANE STONE #5 multiple times, CO

SMALLS acted willfully and wantonly for his own sexual gratification.

      723.    There was no penological justification for CO SMALLS’s conduct.

      724.    CO SMALLS’s conduct was unreasonable and in violation of JANE

STONE #5’s clearly established constitutional right to be free from cruel and unusual

punishment.

      725.    CO SMALLS’s conduct constituted cruel and unusual punishment

under the Eighth Amendment of the U.S. Constitution.

      726.    JANE STONE #5 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                       TWENTY-FIFTH CAUSE OF ACTION
                        FAILURE TO PROTECT
         VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
 (By JANE STONE #5 Against CO DEOSARRAN, CO GUZMAN, and CO PAIGE)

      727.    Paragraphs 1–726 are hereby incorporated and realleged.

      728.    CO DEOSARRAN knew about the improper relationship between JANE

STONE #5 and CO SMALLS and told JANE STONE #5 to be careful.

      729.    CO GUZMAN was CO SMALLS’s friend and was aware of the

relationship between CO SMALLS and JANE STONE #5. CO GUZMAN told JANE



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STONE #5 that she was going to get CO SMALLS in trouble if the relationship

continued.

      730.   Similarly, CO PAIGE told JANE STONE #5 that the relationship with

CO SMALLS was obvious and that all of the correction officers were discussing it.

      731.   Neither CO DEOSARRAN, CO GUZMAN, nor CO PAIGE ever reported

their suspicions to PREA or to any supervising officers.

      732.   CO DEOSARRAN, CO GUZMAN, and CO PAIGE made no attempts to

interfere in the relationship.

      733.   CO DEOSARRAN, CO GUZMAN, and CO PAIGE failed to protect

JANE STONE #5 from the imminent risk of sexual abuse by CO SMALLS.

      734.   JANE STONE #5 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.


                       TWENTY-SIXTH CAUSE OF ACTION
                        DELIBERATE INDIFFERENCE
             VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                  (By JANE STONE #1, JANE STONE #2, and
                   JANE STONE #6 Against SUPT SQUIRES)

      735.   Paragraphs 1–734 are hereby incorporated and realleged.

      736.   SUPT SQUIRES was aware that male correction officers at DOCCS

facilities, including at Albion CF, were repeatedly accused, charged, and criminally

convicted of sexually abusing female inmates.

      737.   SUPT SQUIRES was directly and personally responsible for the safety

of inmates at Albion CF.




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       738.   SUPT SQUIRES failed to implement and enforce policies sufficient to

protect female inmates at Albion CF from sexual abuse by male correction officers.

       739.   SUPT SQUIRES created a custom and unspoken policy, through her

actions and failures to act, in which Albion CF staff did not report and turned a blind

eye to warning signs of improper relationships and manipulation of inmates by

correction officers.

       740.   SUPT SQUIRES was deliberately indifferent to a serious risk to the

safety of all female inmates at the hands of male correction officers at Albion CF.

       741.   Prior to the sexual abuses and rapes of JANE STONE #1, JANE STONE

#2, and JANE STONE #6 in Albion CF laundry rooms, SUPT SQUIRES knew that

laundry rooms at Albion CF posed a specific risk to the female inmates at Albion CF

because they were unmonitored areas where sexual abuse could occur, and, in fact,

had occurred previously.

       742.   SUPT SQUIRES took no action to monitor laundry rooms at Albion CF

or ensure the safety of female inmates inside the laundry rooms. As a direct result of

this indifference and failure to act, sexual predators working as correction officers at

Albion CF, including STUPNICK, CASTONGUAY, and MIDDLEBROOKS, knew

that they could go undetected while sexually abusing female inmates in laundry

rooms at Albion CF.

       743.   The deliberate indifference of SUPT SQUIRES led to the sexual abuses

of JANE STONE #1, JANE STONE #2, and JANE STONE #6.




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      744.   JANE STONE #1, JANE STONE #2, and JANE STONE #6 suffered

physical, emotional, and psychological pain and other damages as a result of this

violation.




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                     TWENTY-SEVENTH CAUSE OF ACTION
                         DELIBERATE INDIFFERENCE
              VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                   (By JANE STONE #5 Against SUPT KAPLAN)

       745.   Paragraphs 1–744 are hereby incorporated and realleged.

       746.   SUPT KAPLAN was aware that male correction officers at DOCCS

facilities, including at BHCF, were repeatedly accused, charged, and criminally

convicted of sexually abusing female inmates.

       747.   SUPT KAPLAN was directly and personally responsible for the safety

of inmates at BHCF.

       748.   SUPT KAPLAN failed to implement and enforce policies sufficient to

protect female inmates at BHCF from sexual abuse by male correction officers.

       749.   SUPT KAPLAN created a custom and unspoken policy, through her

actions and failures to act, in which BHCF staff did not report and turned a blind eye

to warning signs of improper relationships and manipulation of inmates by correction

officers.

       750.   SUPT KAPLAN was deliberately indifferent to a serious risk to the

safety of all female inmates at the hands of male correction officers at BHCF.

       751.   The deliberate indifference of SUPT KAPLAN led to the sexual abuse of

JANE STONE #5.

       752.   JANE STONE #5 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.




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                       TWENTY-EIGHTH CAUSE OF ACTION
                         DELIBERATE INDIFFERENCE
              VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
                   (By JANE STONE #4 Against SUPT KUBIC)

       753.   Paragraphs 1–752 are hereby incorporated and realleged.

       754.   SUPT KUBIK was aware that male correction officers at DOCCS

facilities were repeatedly accused, charged, and criminally convicted of sexually

abusing female inmates.

       755.   SUPT KUBIK was directly and personally responsible for the safety of

inmates at Lakeview.

       756.   SUPT KUBIK failed to implement and enforce policies sufficient to

protect female inmates at Lakeview from sexual abuse by male correction officers.

       757.   SUPT KUBIK created a custom and unspoken policy, through his

actions and failures to act, in which Lakeview staff did not report and turned a blind

eye to warning signs of improper relationships and manipulation of inmates by

correction officers.

       758.   SUPT KUBIK was deliberately indifferent to a serious risk to the safety

of all female inmates at the hands of male correction officers at Lakeview.

       759.   The deliberate indifference of SUPT KUBIK led to the sexual abuse of

JANE STONE #4.

       760.   JANE STONE #4 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.




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                       TWENTY-NINTH CAUSE OF ACTION
                         DELIBERATE INDIFFERENCE
              VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
               (By JANE STONE #3 Against SUPT MITCHELL-VOYD)

       761.   Paragraphs 1–760 are hereby incorporated and realleged.

       762.   SUPT MITCHELL-VOYD was aware that male correction officers at

DOCCS facilities, including at Taconic, were repeatedly accused, charged, and

criminally convicted of sexually abusing female inmates.

       763.   SUPT MITCHELL-VOYD was directly and personally responsible for

the safety of inmates at Taconic.

       764.   SUPT MITCHELL-VOYD failed to implement and enforce policies

sufficient to protect female inmates at Taconic from sexual abuse by male correction

officers.

       765.   SUPT MITCHELL-VOYD created a custom and unspoken policy,

through her actions and failures to act, in which Taconic staff did not report and

turned a blind eye to warning signs of improper relationships and manipulation of

inmates by correction officers.

       766.   SUPT MITCHELL-VOYD was deliberately indifferent to a serious risk

to the safety of all female inmates at the hands of male correction officers at Taconic.

       767.   The deliberate indifference of SUPT MITCHELL-VOYD led to the

sexual abuse of JANE STONE #3.

       768.   JANE STONE #3 suffered physical, emotional, and psychological pain

and other damages as a result of this violation.



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                         THIRTIETH CAUSE OF ACTION
                          DELIBERATE INDIFFERENCE
           VIOLATION OF U.S. CONSTITUTION AMENDMENT VIII
      (By All Plaintiffs Against COMMR ANNUCCI, and COMMR EFFMAN)

      769.   Paragraphs 1–768 are hereby incorporated and realleged.

      770.   COMMR ANNUCCI and COMMR EFFMAN were aware that male

correction officers at Albion CF, BHCF, Lakeview, and Taconic were repeatedly

accused, charged, and criminally convicted of sexually abusing female inmates.

      771.   COMMR ANNUCCI and COMMR EFFMAN were directly and

personally responsible for the safety of inmates at Albion CF, BHCF, Lakeview, and

Taconic.

      772.   COMMR ANNUCCI and COMMR EFFMAN failed to implement and

enforce policies sufficient to protect female inmates at Albion CF, BHCF, Lakeview,

and Taconic from sexual abuse by male correction officers.

      773.   COMMR ANNUCCI and COMMR EFFMAN created a custom and

unspoken policy, through their actions and failures to act, in which DOCCS staff did

not report and turned a blind eye to warning signs of improper relationships and

manipulation of inmates by correction officers.

      774.   COMMR ANNUCCI and COMMR EFFMAN were deliberately

indifferent to a serious risk to the safety of all female inmates at the hands of male

correction officers at Albion CF, BHCF, Lakeview, and Taconic.

      775.   The deliberate indifference of COMMR ANNUCCI and COMMR

EFFMAN led to the sexual assaults of each of the Plaintiffs.



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                                     PRAYER FOR RELIEF
       WHEREFORE, Plaintiffs pray for relief and demand judgment in their favor on each of

their claims against defendants as follows:

       a.      That a jury find, and the Court adjudge and decree, that Plaintiffs shall recover

compensatory damages in the sum of $25,000,000, plus punitive damages in the sum of

$25,000,000 against the defendants, plus nominal damages in the sum of $1 against the

defendants, jointly and severally, together with interest.

       b.      That Plaintiffs recover the costs of the suit herein, including reasonable attorney’s

fees pursuant to 42 U.S.C. § 1988.

       c.      That Plaintiffs be awarded such other and further relief as the Court shall deem

just and proper.




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                                        JURY DEMAND
         Plaintiffs hereby demand a trial by jury on all issues and counts in the Complaint herein.

Dated:          New York, New York
                September 25, 2020

                                                       Respectfully submitted,



                                                       By: ________________________________
                                                             Daniel A. McGuinness

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                                                                             - and -



                                                       By:           /s/
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